                                                                         Case 9:19-cr-80056-RKA Document 73-21 Entered on FLSD Docket 09/19/2019 Page 1 of 24
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                               From         To                      "·          Drrect,on   Body                              Translation                          ·                                                                                                                  tttachment #2
                                                                                                                                                                                                                                           I•
                                                                                                                                                                                                                                                                                      I

                                            !03099614e3ca9d276982dfeb191279 Incoming                                          [1 .aud.silk] Therefore, that's why I am talking to you and confirming it with you          WeChat          3/15/2019   3/15/2019   1.aud.silk   silk       1.aud.silk_Converted.
                                            d                                                                                 now... have to-Vv'e have to finalize it or else. So that I can make arrangements.           wxid_qxgsc6h1xm             10:13:27                        wav
                                              Participants:                                                                   That's what I meant Which ones dont you want? Which ones don't you want?                    d112                        AM(UTC+O)
                                            · wxid_qxgsc6h1xmd112 ¥ (owner) ,                                                 Then 1--1 can make arrangements. 1-1--1 want to confirm with you on this.
                                              wxid_ 4U, wxid_4zadks4smfc512                                                                               \
                                              uncfa

                           2                f03099614e3ca9d276982dfeb191279 Incoming                                          [2.aud.silk] You asked me for the itinerary. I just sent you the whole thing. Is it what    WeChat          3/15/2019   3/15/2019   2.aud.silk   silk   2. aud.silk_Converted.
                                            d                                                                                 you mean?                                                                                   wxid_qxgsc6h1xm             10:13:31                        wav
                                            Participants:                                                                                                                                                                 d112                        AM(UTC+O)
                                            wxid_qxgsc6h1xmd112 ¥ (owner),
                                            wxid_4U, wxid_ 4zadks4smfc512
                                            uncfa

                           3                !03099614e3ca9d276982dfeb191279 Incoming                                          [5.aud.silk] Huh, okay. I got it. Let me take a look. You want me to follow the             WeChat          3/15/2019   3/15/2019   5.aud.silk   silk   5.aud.silk_Converted.
                                            d                                                                                 agreements. Right? I know what you mean. Okay. Hm.                                          wxid_qxgsc6h1xm             10:15:32                        wav
                                            Participants:                                                                                                                                                                 d112                        AM(UTC+O)
                                            wxid_qxgsc6h1xmd112 ¥ (owner),
                                            wxid_4U, wxid_4zadks4smfc512
                                            uncfa

                           4                !03099614e3ca9d276982dfeb191279 Incoming                                          [6.pic] [Th is is a picture of the first page of the contract between Beijing Peace and     WeChat          3/15/2019   3/15/2019   6.pic
                                            d                                                                                 Friendship Business Management Co., Ltd. (Party A) and Zhang Yujing (party B). It           wxid_qxgsc6h1xm             10:19:29
                                            Participants:                                                                     states: To implement President Xi's One Belt One Road party policy, in response to          d112                        AM(UTC+O)
                                            wxid_qxgsc6h1xmd112 ¥ (owner),                                                    the CPC highest instruction, Party A is fully authorized by Party B to arrange Party B
                                            wxid_ 4U, wxid_4zadks4smfc512                                                     to attend an economic forum at Trump's private estate on 3/30/2019. Party B will pay
                                            uncfa                                                                             Party A US$20,000 which includes round trip tickets from China to the US; 7 days in
                                                                                                                              Palm Beach, Washington, and New York; "Dr. Peace Honorary Certificate" issued by
                                                                                                                              NGO of the United Nations; "Sino-US Friendship Ambassador Honorary
                                                                                                                              Certiflcate'1rom President Trump's Economic Cooperation Development Committee;
                                                                                                                              and professional reporting and promotion from about 200 Chinese, foreign, and
                                                                                                                              United Nations internet media.]



                           5                f030996f4e3ca9d276982dfeb19f279 Incoming                                          [7. pie] [This is a picture of the second page of the contract instructing Party B to pay   WeChat          3/15/2019   3/15/2019   7.pic
                                            d                                                                                 Party A US$20,000 or RMB$135,000 within three days after the si nin of the                  wxid_qxgsc6h1xm             10:19:31
                                            Participants:                                                                     contra                            ··               ·              ·                         d112                        AM(UTC+O)
                                            wxid_qxgsc6h1xmd112 ¥ (owner),
                                            wxid_4U, wxid_4zadks4smfc512
                                            uncfa

                           6                f030996f4e3ca9d276982dfeb191279 Incoming                                          [8.aud.silk] Gorgeous, I read the agreement. The agreement is very ambiguous.               WeChat          3/15/2019   3/15/2019   8.aud.silk   silk   8.aud.silk_Converted.
                                            d                                                                                 Nothing is specific. You dont get to say that you don't want to go to this place or that    wxid_qxgsc6h1xm             10:19:54                        wav
                                            Participants:                                                                     place. I am confirming with you now, a final confirmation. Just now you talked              d112                        AM(UTC+O)
                                            wxid_qxgsc6h1xmd112 ¥ (owner),                                                    about 4/1 part and 4/2 part. Bottom line-It's included in it I am not sure which one
                                            wxid_ 4U, wxid_4zadks4smfc512                                                     you want and which one you don't want Simply put it you dont want the sightseeing
                                            uncfa                                                                             part, right? Is it what you meant?

                           7                f03099614e3ca9d276982dfeb191279 Incoming                                          [9.aud.silk] So you don't want the trip from 4/1 to 4/3--is it what you meant? You just     WeChat          3/15/2019   3/15/2019   9.aud.silk   silk   9.aud.silk_Converted.
                                            d                                                                                 said "no." Does that mean you can't go, or you just dont want to go? You dont want          wxid_qxgsc6h1xm             10:20:10                        wav
                                            Participants:                                                                     the trip from 4/1 to 4/3. Right?                                                            d112                        AM(UTC+O)
                                            wxid_qxgsc6h1xmd112 ¥ (owner),
                                            wxid_4U, wxid_4zadks4smfc512
                                            uncfa

                           8                !03099614e3ca9d276982dfeb191279 Incoming        AFciJl \,U!4. 1-                  Final confirmation to cancel the itinerary for 4/1-4/3. Right?                              WeChat          3/15/2019   3/15/2019
                                             d                                              4.3rrfi"FJH ~ ~?                                                                                                              wxid_qxgsc6h1xm             10:21 :47
                                            Participants:                                                                                                                                                                 d112                        AM(UTC+O)
                                            wxid_qxgsc6h1xmd112 ¥ (owner),
                                            wxid_ 4U, wxid_ 4zadks4smfc512
                                             uncfa
                           9                 f030996f4e3ca9d276982dfeb191279 Incoming       l/Jlff!iAFcR:lt1Sliirl!9!;8~D1!   I'll send you an updated copy once you confirm that                                         WeChat          3/15/2019   3/15/2019
                                             d                                                                                                                                                                            wxid_qxgsc6h1xm             10:22:28
                                             Participants:                                                                                                                                                                d112                        AM(UTC+O)
                                             wxid_qxgsc6h1xmd112 ¥ (owner),
                                             wxid_4U, wxid_ 4zadks4smfc512
                                             uncfa

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                                                                                                                                                                                                                                               I•                               #1         Details

                           10 wxid_qxgsc6h f030996f4e3ca9d276982dfeb19f279 Outgoing                                             Can you arrange some more businesses?                                                        WeChat           3/15/2019    3/15/20191 :15:47
                              1xmd112 ¥    d                                                                                                                                                                                 wxid_qxgsc6h1 xm              PM(UTC+O}
                                           Participants:                                                                                                                                                                     d112
                                           wxid_qxgsc6h1 xmd11 2 • (owner},
                                           wxid_4U, wxid_4zadks4srric512
                                           uncfa

                           11              f030996f4e3ca9d276982dfeb19f279 Incoming    oJ~J                                     Okay                                                                                         WeChat            3/15/2019   3/15/20191 :21 :25
                                           d                                                                                                                                                                                 wxid_qxgsc6h1 x m             PM(UTC+O}
                                           Participants:                                                                                                                                                                     d112
                                           wxid_qxgsc6h1 x md112 • (owner},
                                           wxid_4U, wxid_4zadks4smfc512
                                           uncfa
                           12 wxid_qxgsc6h f03099614e3ca9d276982dfeb19f279 Outgoing    oJ~Jtli.                                 May I propose?                                                                               WeChat            3/15/2019   3/15/20191 :50:15
                              1xmd112¥ d                                                                                                                                                                                     wxid_qxgsc6h1 x m             PM(UTC+O}
                                           Participants:                                                                                                                                                                     d112
                                           wxid_qxgsc6h1xmd112 • (owner) ,
                                           wxid_4U, wxid_4zadks4smfc512
                                           uncfa
                           13 wxid_qxgsc6h f030996f4e3ca9d276982dfeb19f279 Outgoing                                             [20.pic] [These are names ct. Morgan Stanley, C~i Bank, US Department of                     WeChat          3/15/2019     3/15/2019 2:03:15    20.pic
                              1xmd112• d                                                                                        Commerce, Tesla]                                                                             wxid_qxgsc6h1xm               PM(UTC+O}
                                           Participants:                                                                                                                                                                     d112
                                           wxid_qxgsc6h1 x md112 • (owner},
                                           wx id_4U, wxid_4zadks4smfc512
                                           uncfa

                           14              f030996f4e3ca9d276982dfeb19f279 Incoming                                             [21 .aud .silk) Let me make some calls and see what I can get Okay? Huh, let me              WeChat          3/15/2019     3/15/2019 5:51 :18   21 .aud.silk   silk       21.aud.silk_Converted
                                           d                                                                                    make some calls. Huh.                                                                        wxid_qxgsc6h1xm               PM(UTC+O}                                      .wav
                                           Participants:                                                                                                                                                                     d112
                                           wxid_qxgsc6h1xmd112 • (owner},
                                           wx id_4U, wxid_4zadks4srrtc512
                                           uncfa

                           15              f030996f4e3ca9d276982dfeb19f279 Incoming                                             [22.aud.silk) I know what you mean. Fill up your open time slots for these few days.         WeChat           3/15/2019    3/15/2019 5:51 :26   22.aud.silk    silk       22.aud.silk_ Converted
                                           d                                                                                    Try to organize some high profile ones. 1--1 know what you mean. Okay. I'll try my           wx id_qxgsc6h1xm              PM(UTC+O}                                      .wav
                                           Participants:                                                                        best.                                                                                        d112
                                           wxid_qxgsc6h1xmd112 • (owner},
                                           wxid_ 4U, wxid_ 4zadks4smfc512
                                           uncfa
                           16              f030996f4e3ca9d276982dfeb19f279 Incoming                                             [23.pic] [The first picture reads "First Chinese Cooperation Forum at US President           WeChat          3/15/2019     3/15/2019 9:02:07    23.pic_thu
                                           d                                                                                    Trump's Estate on 3/30/2019 at Palm Beach, Florida, US". The second picture                  wxid_qxgsc6h1xm               PM(UTC+O}            m
                                           Participants:                                                                        appears to be an inv ~ tion to attend the first international speaking opportunity for the   d112
                                           wx id_qxgsc6h1 x md112 • (owner),                                                    Chinese at US President's estate. It states the attendees will have face to face
                                           wxid_ 4U, wxid_4zadks4smfc512                                                        exchange, dinner, photo op, etc. with Trump's elder sister and family, global
                                           uncfa                                                                                pol~icians and businessmen, and Chinese leaders.]

                           17              !03099614e3ca9d276982dfeb19f279 Incoming    ~'i'f.ili~ t:!Hi~V- lfl l'lUEiil Please Confirm this itinerary as soon as possible so the tickets can           be issued and         WeChat           3/15/2019    3/15/2019 9:04:15
                                           d                                           /li7 , ifjitjijl !               hotel be booked. Thank you I                                                                         wxid_qxgsc6h1 xm              PM(UTC+O}
                                           Participants:                                                                                                                                                                     d112
                                           wxid_qxgsc6h1xmd112 • (owner},
                                           wxid_ 4U, wxid_4zadks4smfc512
                                           uncfa

                           18              !03099614e3ca9d276982dfeb19f279 Incoming    ;)l:4'4.18:(£,!ll,~~~=m-                 Orlando on 4/1 , two s~es to choose from: Kennedy Space Center or Disney World               WeChat          3/15/2019     3/15/2019 9:06:12
                                           d                                           :llf.\i : ~/Eil!il,'i;;ii:q,,t,;.til!i                                                                                                wxid_qxgsc6h1xm               PM(UTC+O}
                                           Participants:                               lVilE if- lm                                                                                                                          d112
                                           wxid_qxgsc6h1xmd112 • (owner},
                                           wxid_ 4U, wxid_4zadks4srrtc512
                                           uncfa
                           19 wx id_qxgsc6h f03099614e3ca9d276982dfeb19f279 Outgoing                                            Send you the brochure first                                                                  WeChat           3/16/2019    3/16/2019 7:01 :16
                              1xmd112¥ d                                                                                                                                                                                     wx id_qxgsc6h1xm              AM(UTC+O}
                                            Participants:                                                                                                                                                                    d112
                                            wxid_qxgsc6h1 x md11 2 • (owner},
                                            wxid_4U, wx id_4zadks4smfc512
                                            uncfa



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                                            o                               Direction


                          20 wxid_qxgsc6h f030996f4e3ca9d276982dfeb19f279 Outgoing
                                                                                        !Body                             Translation                 ---------- -----


                                                                                                                          [27.pic] [rhis appears to be an invitiation letter in English. It reads: Zhang Yujing,        WeChat
                                                                                                                                                                                                                                         ..   -
                                                                                                                                                                                                                                        3/16/2019    3/16/2019 7:16:05
                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                         27.pic
                                                                                                                                                                                                                                                                                        .  -.
                                                                                                                                                                                                                                                                                                I
                                                                                                                                                                                                                                                                                                    Attachment #2



                             1xm:l112¥ d                                                                                  who was engaged in investment and economic management insdustry [sic] in more                 wxid_qxgsc6h1xm              AM{UTC+O}
                                          Participants:                                                                   than 8 years. The main purpose of the attendence [sic] on the 30th of May is to               d112
                                          wxid_qxgsc6h1 xm:l112 ¥ {owner},                                                promote the bilateral relalionshp of China and Un~ed States, especially the economic
                                          wxid_ 4U, wxid_ 4zadks4srrtc512                                                 and trade relationship, so that the tv.o countries have rrore cooperations.]
                                          uncfa
                          21   wxid_qxgsc6h f030996f4e3ca9d276982dfeb19f279 Outgoing    Jl!(JIJ@I I fie itlitl            Let me know once you get it Thank you.                                                        WeChat          3/16/2019    3/16/2019 7:16:16
                               1xm:l112¥ d                                                                                                                                                                              wxid_qxgsc6h1xm              AM(UTC+O}
                                            Participants:                                                                                                                                                               d112
                                            wxid_qxgsc6h1xm:l112 ¥ {owner),
                                            wxid_ 4U, wxid_ 4zadks4srrtc512
                                           unda

                          22 wxid_qxgsc6h f030996f4e3ca9d276982dfeb19f279 Outgoing      itlitl iJ!Jl!(f1H/Jt8'.J iliff7   Thank you. I got your voice message.                                                          WeChat          3/16/2019    3/16/2019 7:16:42
                             1xm:l112¥ d                                                                                                                                                                                wxid_qxgsc6h1xm              AM{UTC+O}
                                          Participants:                                                                                                                                                                 d112
                                          wxid_qx gsc6h1 xmd112 ¥ (owner),
                                          wxid_ 4U, wxid_ 4zadks4srrtc512
                                           unda

                          23 wxid_qxgsc6h f030996f4e3ca9d276982dfeb19f279 Outgoing      '$'3'7 ~ !!!1~                    Thank you for your hard work these days.                                                      WeChat          3/16/2019    3/16/2019 7:16:47
                             1xm:l112¥ d                                                                                                                                                                                wxid_qxgsc6h1xm              AM(UTC+O}
                                          Participants:                                                                                                                                                                 d112
                                          wxid_qxgsc6h1xm:l112 ¥ (owner}.
                                          wxid_4U, wxid_ 4zadks4srrtc512
                                           unda

                          24 wxid_qxgsc6h f030996f 4e3ca9d2769S2dfeb19f279 Outgoing     •HJt;i!f.B!.                      Wa~ing to hear from you.                                                                      WeChat           3/16/2019   3/16/2019 7:16:55
                             1xm:l112¥ d                                                                                                                                                                                wxid_qxgsc6h1 xm             AM(UTC+O}
                                          Participants:                                                                                                                                                                 d112
                                          wxid_qxgsc6h1xm:l112 ¥ {owner},
                                          wxid_4U, wxid_ 4zadks4srrtc512
                                           unda

                          25 wxid_qxgsc6h f030996f4e3ca9d276982dfeb19f279 Outgoing                                        [32.aud.silk] Er ... because it's not so easy to travel abroad. Er... and I think seven       WeChat          3/16/2019    3/16/2019 7:17:30   32.aud.silk    silk    32.aud.silk_Converted
                             1xmd112¥ d                                                                                   days are generally necessary. If I only go overseas for just 2 or 3 days, it's qu~e           wxid_qxgsc6h1xm              AM(UTC+O}                                  .wav
                                          Participants:                                                                   exhausting. Going overseas for a few more days each time may help ... say ... fully           d112
                                          wxid_qxgsc6h1xm:l112 ¥ {owner},                                                 utilize the expenses, so it's more cost-effective. Secondly, it saves energy. In
                                          wxid_4U, wxid_ 4zadks4srrtc512                                                  add~ion, I will get some more in return from the trip. Right?
                                          uncfa
                          26 wxid_qxgsc6h f030996f4e3ca9d276982dfeb19f279 Outgoing                                        [33.aud.silk] Thank you for working hard.                                                     WeChat          3/16/2019    3/16/2019 7:18:00   33.aud.silk    silk    33.aud.silk_Converted
                             1xm:l112¥ d                                                                                                                                                                                wxid_qxgsc6h1xm              AM(UTC+O)                                  .wav
                                          Participants:                                                                                                                                                                 d112
                                          wxid_qxgsc6h1xmd112 ¥ {owner},
                                          wxid_ 4U, wxid_4zadks4srrtc512
                                           unda

                          27 wxid_qxgsc6h f030996f4e3ca9d276982dfeb19f279 Outgoing                                        [34.aud.silk] Regarding this ~inerary--how about this .... first, can I book the return       WeChat          3/16/2019    3/16/2019 7:19:41   34.aud .silk   silk    34.aud.silk_Converted
                             1xm:l112¥ d                                                                                  ticket myself? Or, can we have a spare day or two ... spare a few days ..                     wxid_qxgsc6h1xm              AM{UTC+O}                                  .wav
                                          Participants:                                                                                                                                                                 d112
                                          wxid_qxgsc6h1 xm:l112 ¥ {owner} ,
                                          wxid_ 4U , wxid_4zadks4smfc512
                                          uncfa
                          28 wxid_qxgsc6h f030996f4e3ca9d276982dfeb19f279 Outgoing                                        [35.aud.silk] That is the entire itinerary ... ~ has to be over seven days because it's not   WeChat          3/16/2019    3/16/2019 7:19:56   35.aud .silk   silk    35.aud .silk_Converted
                             1xm:l112¥ d                                                                                  easy for me to make a trip. You don't have to book the return flight for me. Secondly,        wxid_qxgsc6h1xm              AM{UTC+O}                                  .wav
                                          Participants:                                                                   that is ...                                                                                   d112
                                          wxid_qxgsc6h1xmd112 ¥ {owner},
                                          wxid_ 4U, wxid_ 4zadks4smfc512
                                           unda

                          29 wxid_qxgsc6h f030996f4e3ca9d276982dfeb19f279 Outgoing      ~OOOO;f.E ~*iit                   I've been to the Capitol Hill.                                                                WeChat          3/16/2019    3/16/2019 7:20:15
                             1xm:l112¥ d                                                                                                                                                                                wxid_qxgsc6h1xm              AM{UTC+O}
                                          Participants:                                                                                                                                                                 d112
                                          wxid_qxgsc6h1 x md112 ¥ {owner},
                                          wx id_4U, wxid_ 4zadks4smfc512
                                          uncfa



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                           #    From         To- - - - - - - - - - - -        I   .      Body                       Translation                                                                                                                                                             Attachment #2
                                                                                                                                                                                                                                 •. •                             '             I - .

                           30 wxid_qxgsc6h f030996!4e3ca9d276982dfeb191279 Outgoing      1'~~17 it!it!              No need to do it again. Thank you.                                                          WeChat          3/16/2019    3/16/2019 7:20:21
                              1xmd112• d                                                                                                                                                                        wxid_qxgsc6h1xm              AM(UTC+O)
                                           Participants:                                                                                                                                                        d112
                                           wxid_qxgsc6h1xmd 11 2 • (owner) ,
                                           wxid_ 4U , wxid_ 4zadks4sm!c512
                                           unda

                           31   wxid_qxgsc6h f030996!4e3ca9d276982dfeb191279 Outgoing    iliJIJilE ~lillil~ff'I'~   Neither Disney, nor Capitol Hill.                                                           WeChat          3/16/2019    3/16/2019 7:20:33
                                1xmd112• d                                                                                                                                                                      wxid_qxgsc6h1xm              AM(UTC+O)
                                             Participants:                                                                                                                                                      d112
                                             wxid_qxgsc6h1xmd112 • (owner),
                                             wxid_4U, wxid_4zadks4smfc512
                                             uncfa

                           32                f030996!4e3ca9d276982dfeb191279 Incoming    I/Jlle@l7-lle:IUJ.         You have deleted a message.                                                                 WeChat           3/16/2019   3/16/2019 7:22:37                          '
                                             d                                                                                                                                                                  wxid_qxgsc6h1x m             AM(UTC+O)
                                             Participants:                                                                                                                                                      d112
                                             wxid_qxgsc6h1xmd112 • (owner),
                                             wxid_ 4U, wxid_4zadks4smfc512
                                             uncfa

                           33 wxid_qxgsc6h f030996!4e3ca9d276982dfeb191279 Outgoing                                 [42.aud.silk] In this itinerary, except for the Whtte House where I can visit again, I am   WeChat          3/16/2019    3/16/2019 7:23:03   42.aud.silk   silk         42.aud.silk_Converted
                              1xmd112• d                                                                            not much interested in the rest Thank you .                                                 wxid_qx9sc6h1xm              AM(UTC+O)                                      .wav
                                           Participants:                                                                                                                                                        d112
                                           wxid_qxgsc6h1xmd112 • (owner),
                                           wxid_ 4U, wxid_ 4zadks4smfc512
                                           unda

                           34 wxid_ qxgsc6h !030996!4e3ca9d276982dfeb191279 Outgoing                                [43.aud.silk] Don't arrange other stops. I am not really interested.                        WeChat           3/16/2019   3/16/2019 7:23:19   43.aud.silk   silk         43.aud.silk_Converted
                              1xmd112• d                                                                                                                                                                        wxid_qx9sc6h1xm_             AM(UTC+O)                                      .wav
                                            Participants:                                                                                                                                                       d112
                                            wxid_qxgsc6h1xmd112 4 (owner),
                                            wxid_ 4U, wxid_4zadks4smfc512
                                            unda

                           35 wxid_qxgsc6h f030996!4e3ca9d276982dfeb191279 Outgoing                                 [44.aud.silk] The Exchange--The Stock Exchange is fine.                                     WeChat          3/16/2019    3/16/2019 7:23:36   44.aud.silk   silk         44.aud.silk_Converted
                              1xmd112• d                                                                                                                                                                        wxid_qxgsc6h1xm              AM(UTC+O)                                      .wav
                                           Participants:                                                                                                                                                        d112
                                           wxid_qxgsc6h1xmd112 4 (owner),
                                           wxid_ 4U, wxid_4zadks4smfc512
                                           unda

                           36 wxid_ qxgsc6h f030996!4e3ca9d276982dfeb191279 Outgoing                                [45.aud.silk] The Stock Exchange is fine. The others ... for the time being ... er. ..not   WeChat          3/16/2019    3/16/2019 7:23:46   45.aud.silk   silk         45.aud.silk_Converted
                              1xmd1124 d                                                                            really .. . You can look more into the Wall Street I'll see if there's something that can   wxid_qxgsc6h1xm              AM(UTC+O)                                      .wav
                                            Participants:                                                           be done there ... make some arrangements. Other places (can be skipped) for now.            d112
                                            wxid_qxgsc6h1xmd112 • (owner),
                                            wxid_4U, wxid_4zadks4smfc512
                                            uncfa
                           37   wx id_qxgsc6h !030996!4e3ca9d276982dfeb191279 Outgoing   lH !l'i~ ~al - 1' ~'IJ     Still need to revise it. Huh.                                                               WeChat          3/16/2019    3/16/2019 7:25:09
                                1xmd1124 d                                                                                                                                                                      wxid_qxgsc6h1xm              AM(UTC+O)
                                              Participants:                                                                                                                                                     d112
                                              wxid_qxgsc6h1xmd112 • (owner),
                                              wxid_4U, wxid_4zadks4smfc512
                                              unda

                           38 wxid_ qxgsc6h f030996f4e3ca9d276982d!eb191279 Outgoing                                [47.aud.silk] Perhaps, having one day for sightseeing is fine.                              WeChat          3/16/2019    3/16/2019 7:35:39   47.aud.silk   silk         47.aud.silk_Converted
                              1xmd112• d                                                                                                                                                                        wxid_qxgsc6h1xm              AM(UTC+O)                                      .wav
                                            Participants:                                                                                                                                                       d112
                                            wxid_qxgsc6h1xmd112 • (owner),
                                            wxid_4U, wxid_4zadks4smfc512
                                            uncfa

                           39 wxid_qxgsc6h f030996!4e3ca9d276982dfeb191279 Outgoing                                 [48.aud.silk] Let's do it this way.. Er.. .after the tour in the White House ... [pause]    WeChat          3/16/2019    3/16/2019 7:36:28   48.aud.silk   silk         48.aud.silk_Converted
                              1xmd112• d                                                                            there is only one day left. After the tour in the White House, you--you guys-- How          wxid_qxgsc6h1xm              AM(UTC+O)                                      .wav
                                           Participants:                                                            about this--no need to schedule anything else there because there is nothing worth          d112
                                           wxid_qxgsc6h1xmd112 • (owner),                                           doing in Washington.
                                           wxid_ 4U, wxid_ 4zadks4smfc512
                                           uncfa


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                                                                    Case 9:19-cr-80056-RKA Document 73-21 Entered on FLSD Docket 09/19/2019 Page 5 of 24
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                                                                                                                                                                                          Appl1catton     Date

                          40              !03099614e3ca9d276982dfeb191279 Incoming    l&fl]   Got it                                                                                      WeChat          3/16/2019    3/16/2019
                                          d                                                                                                                                               wxid_qxgsc6h1xm              10:06:55
                                          Participants:                                                                                                                                   d112                         AM(UTC+O)
                                          wxid_qxgsc6h1xmd112 ,w (owner),
                                          wxid_4U, wxid_4zadks4smfc512
                                          uncfa
                          41              f03099614e3ca9d276982dfeb 191279 Incoming           [SO.pie] [This page claims Turkey \/1/elcomes new immigrants. You can get a Turkey          WeChat          3/16/2019    3/16/2019            SO.pie
                                          d                                                   passport simply by buying properties there. Immigration process only takes about 3-         wxid_qxgsc6h1xm              10:40:59
                                          Part icipants:                                      6 months. With a Turkey passport, you can have access to over 110 countries                 d112                         AM(UTC+O)
                                          wxid_qxgsc6h1xmd112 4 (owner),                      without visa.]
                                          wxid_ 4U, wxid_4zadks4smfc512
                                          uncfa
                          42 wxid_qxgsc6h f03099614e3ca9d276982dfeb191279 Outgoing            [51 .pie] [it reads: real estates, Tesla, or alike.]                                        WeChat          3/16/2019    3/16/2019 3:23:56    51 .pie
                             1xmd112• d                                                                                                                                                   wxid_qxgsc6h1xm              PM(UTC+O)
                                          Parti cipants:                                                                                                                                  d112
                                          wxid_qxgsc6h1xmd112 ,W (owner),
                                          wxid_ 4U, wxid_4zadks4srrtc512
                                          uncfa
                          43              !03099614e3ca9d276982dfeb 191279 Incoming           [52.aud.silk] Hi Gorgeous! I think... Miami ... you should-Your good friend has arrived     WeChat          3/16/2019    3/16/2019 5:50:23    52.aud.silk   silk   52.aud.silk_Converted
                                          d                                                   in Florida. Miami-you should check out the south most tip of the US. I will arrange         wxid_qxgsc6h1xm              PM(UTC+O)                                 .wav
                                          Participants:                                       a one-day itinerary for you. I'll schedule you to meet up with the biggest real estate      d112
                                          wxid_qxgsc6h1xmd112 ,W (owner),                     company ... and to introduce you to chat with a real estate developer. Okay? A lot of
                                          wxid_ 4U, wxid_4zadks4smfc512                       business opportunities and realors are there.
                                          uncfa
                          44              f03099614e3ca9d276982dfeb191279 Incoming            [53.aud.silk] Didn't you mention that you wanted to see some financial instnutes? In        WeChat          3/16/2019    3/16/2019 5:50:39    53.aud.silk   silk   53.aud.silk_Converted
                                          d                                                   Washington, I will schedule you to visit the World Bank. I am making the contact            wxid_qxgsc6h1xm              PM(UTC+O)                                 .wav
                                          Partic ipa nts:                                     now, and perhaps I will get a reply tomorrow. Okay?                                         d112
                                          wxid_qxgsc6h1xmd112 4 (owner),
                                          wxid_ 4U, wxid_ 4zadks4smfc512
                                          uncfa
                          45              f030996f4e3ca9d276982dfeb 191279 Incoming           [54.aud.silk] Have you been to the United Nations before? The Unned Nations. If you WeChat              3/16/2019        3/16/2019 5:51 :01   54.aud.silk   silk   54.aud.silk_Converted
                                          d                                                   haven't, I'll arrange someone to take you in--you guys take a look in there. Okay? I'll wxid_qxgsc6h1xm                  PM(UTC+O)                                 .wav
                                          Participants:                                       introduce you to someone from the United Nations Security Council. Okay?                d112
                                          wxid_qxgsc6h1xmd112 ,W (owner),
                                          wxid_4U, wxid_ 4zadks4smfc512
                                          uncfa
                          46              f030996f4e3ca9d2769S2dfeb191279 Incoming            [55.pic] [This appears to be the flight information from Shanghai PVG Airport to West       WeChat          3/16/2019    3/16/2019 7:20:14    55.pie
                                          d                                                   Palm Beach PBI Airport with the transfer at Dallas DFW Airport on 3/29.]                    wxid_qxgsc6h1xm              PM(UTC+O)
                                          Participants:                                                                                                                                   d112
                                          wxid_qxgsc6h1xmd112 4 (owner),
                                          wxid_ 4U, wxid_4zadks4smfc512
                                          uncfa
                          47              !03099614e3ca9d276982dfeb191279 Incoming            [56.aud.silk] Hi Gorgeous! Please confirm it As for the tickets, this is the only flight    WeChat          3/16/2019    3/16/2019 7:20:35    56.aud.silk   silk   56.aud.silk_Converted
                                          d                                                   Hurry up to confirm. Not many tickets are left. It looks like there are only three left     wxid_qxgsc6h1xm              PM(UTC+O)                                 .wav
                                          Participants:                                       because there are many people flying on that date. So the tickets are scarce. You           d112
                                          wxid_qxgsc6h1xmd112 • (owner),                      let me knOIN as soon as possible. If there is no problem, then I have to issue the
                                          wxid_4U, wxid_4zadks4smfc512                        tickets, as on the time table. Huh? The one that is departing from Shanghai.
                                          uncfa
                          48              !03099614e3ca9d276982dfeb 191279 Incoming           [57.aud.silk] The other thing is that you left a message saying that you'll book the        WeChat          3/16/2019    3/16/2019 7:21 :44   57.aud.silk   silk   57.aud .silk_Converted
                                          d                                                   return ticket yourse~. that's fine, but you have to book it and have n with you.            wxid_qxgsc6h1xm              PM(UTC+O)                                 .wav
                                          Participants:                                       Otherwise, you may run in trouble entering the country. You can, well, mine, my             d112
                                          wxid_qxgsc6h1xmd112 4 (owner),                      ticket is only a one-way ticket. There is not much price difference between a one-
                                          wxid_4U, wxid_ 4zadks4smfc512                       way ticket and round trip tickets. That being said ... er. .. you- you--since you want to
                                          uncfa                                               buy--1 did n't book your return trip because lUll/l' want to leave from somewhere else
                                                                                              instead of Palm Beach. Wherever you depart from, you take care of it. Ifs okay. No
                                                                                              problem. It's fine too if you want me to book it for you. But you have to buy, buy, buy
                                                                                              it and have it with you. When you enter the country, you have to have two tiektets
                                                                                              with you , one in, one in and one out Otherwise you may not be able to come in.
                                                                                              Your entry can--can be denied.
                                                                                                                                             C '-        ?/,J./,01,

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                                                                                                                                                                                                                                                              #1         Details
                                                                                                         I
                          49               !03099614e3ca9d276982dleb191279 Incoming                      [58.aud.silk] As for Mi-Miami, Miami, this location, do you want to meet--meet--                 WeChat           3/16/2019     3/16/2019 7:22:21    58.aud.silk    silk        58.aud.silk_Converted
                                           d                                                             check out the housing market? It you want to check it out, I will arrange a day, and             wxid_qxgsc6h1 xm               PM(UTC+O}                                       .wav
                                           Participants:                                                 arrange someone to accompany you to check it out. I have already set up a meeting                d112
                                           wxid_qxgsc6h1xmd112 • (owner},                                for the boss of the Atlantic Real Estate in New York to meet with you. When you get
                                           wxid_ 4U, wxid_ 4zadks4smfc512                                to New York, he will take you around to check out the housing market in New York.
                                           uncfa

                          50               f03099614e3ca9d276982dleb191279 Incoming                      [59.aud.silk] A broker at Wall--Wall Street .. I have already scheduled. I have                  WeChat            3/16/2019    3/16/2019 7:22:28    59.aud.silk    silk        59.aud .silk_Converted
                                           d                                                             contacted a broker tor you. Okay?                                                                wxid_ qxgsc6h1 xm              PM(UTC+O)                                       .wav
                                           Participants:                                                                                                                                                  d112
                                           wxid_qxgsc6h1xmd112 • (owner},
                                           wxid_ 4U, wxid_4zadks4smfc512
                                           uncfa

                          51   wxid_qxgsc6h f03099614e3ca9d276982dfeb19f279 Outgoing                     [60.aud.silk] It's like this ... ls it possible .. .                                             WeChat           3/17/2019     3/17/2019            60.aud.silk    silk        60.aud.silk_Converted
                               1xmd112• d                                                                                                                                                                 wxid_qxgsc6h1 xm               12:37:06                                        .wav
                                            Participants:                                                                                                                                                 d112                           PM(UTC+O}
                                            wxid_qxgsc6h1xmd112 • (owner},
                                            wxid_4U, wxid_4zadks4smfc512
                                            uncfa
                          52 wxid_qxgsc6h f030996t4e3ca9d276982dfeb191279 Outgoing                       [61 .aud .silk] It's like this. Is it possible to depart on 3/28?                                WeChat          3/17/2019      3/17/2019            61 .aud.silk   silk        61 .aud.silk_Converted
                             1xmd112• d                                                                                                                                                                   wxid_qxgsc6h1xm                12:37:11                                        .wav
                                          Participants:                                                                                                                                                   d112                           PM(UTC+O}
                                          wxid_qxgsc6h1xmd112 • (owner},
                                          wxid_ 4U, wxid_ 4zadks4smfc512
                                          uncfa
                          53 wxid_qxgsc6h f030996t4e3ca9d276982dfeb191279 Outgoing                       [62.aud .silk] ... or at least to arrive at the location ... to arrive on 3/29 during the day,   WeChat          3/17/2019      3/17/2019            62.aud.silk    silk        62.aud.silk_Converted
                             1xmd112• d                                                                  like arriving there in the morning or at around noon? Because [I will be] too tired , the        wxid_qxgsc6h1xm                12:37:22                                        .wav
                                          Participants:                                                  itinerary is a M--a brt--a brt--a bit rush.                                                      d112                           PM(UTC+O} ·
                                          wxid_qxgsc6h1xmd112 • (owner},
                                          wxid_ 4U, wxid_ 4zadks4smfc512
                                            uncfa

                          54 wxid_qxgsc6h f030996t4e3ca9d276982dfeb191279 Outgoing                       [63.aud.silk] Huh ... tor the return trip, I'll see what I can do. If the last stop is New       WeChat          3/17/2019      3/17/2019            63.aud.silk    silk        63.aud.silk_Converted
                             1xmd112• d                                                                  York ... Hhe last stop is New York, should I have you reimburse me my return flight              wxid_qxgsc6h1xm                12:37:37                                        .wav
                                          Participants:                                                  ticket?                                                                                          d112                           PM(UTC+O)
                                          wxid_qxgsc6h1xmd112 • (owner},
                                          wxid_4U, wxid_ 4zadks4smfc512
                                            uncfa

                          55 wxid_qxgsc6h f030996f4e3ca9d276982dfeb19f279 Outgoing                       [64.aud.silk] Huh ... Miami .. I don't know much about it. Let me check. Okay?                   WeChat          3/17/2019      3/17/2019            64.aud.silk    silk        64.aud.silk_Converted
                             1xmd112• d                                                                                                                                                                   wxid_qxgsc6h1xm                12:37:50                                        .wav
                                          Participants:                                                                                                                                                   d112                           PM(UTC+O}
                                          wxid_qxgsc6h1xmd112 • (owner},
                                          wxid_4U, wxid_ 4zadks4smfc512
                                            uncfa

                          56               !03099614e3ca9d276982dfeb191279 Incoming                      [65.aud.silk] Hey Gorgeous, I got your message. I'll change the departure date to the WeChat                  3/17/2019         3/17/2019 1 :02:36   65.aud.silk    silk        65.aud .silk_Converted
                                           d                                                             28th. You are right. I'm afraid it's a little too rush for you. Then ... 28th. Change to the wx id_qxgsc6h1xm                   PM(UTC+O)                                       .wav
                                           Participants:                                                 28th and stay one more night. I got it That's fine .                                         d112
                                           wxid_qxgsc6h1xmd112 • (owner),
                                           wxid_4U, wxid_4zadks4smfc512
                                           uncfa
                          57               f030996f4e3ca9d276982dteb191279 Incoming                         [66.aud.silk] It's fine~ you want me to reimburse you in case you buy the ticket              WeChat          3/17/2019      3/17/20191 :03:10    66.aud.silk    silk        66.aud.silk_Converted
                                           d                                                                yourself. No problem. But the issue is you have to have the ticket first. When you            wxid_qxgsc6h1xm                PM(UTC+O)                                       .wav
                                           Participants:                                                    enter the country--When you go through the US Immigration, you have to have the               d112
                                           wxid_qxgsc6h1xmd112 • (owner) ,                                  return ticket. Or you won't get in, you will possibly be sent--will be sent back because
                                           wxid_ 4U, wxid_4zadks4smfc512                                    it is not allowed to enter the country with a one-way ticket. Huh, well, there--there
                                            uncfa                                                      c,,_ may b11,fertain exception. However, in general, people have to have round trip
                                                                                                            tickets. You tell me approximately what time and from where you will want to depart.
                                                                                                 (. l.-     You let me know and I can issue the ticket It's fine whether you buy rt or I buy it,
                                                                                                'it[n/zOl~ at's fine. As long as you don't wait until you get to New York to buy the ticket, or
                                                                                                            livait until you get to the US to buy the ticket It's going to be risky when you
                                                                                                         encounter the Immigration. Thafs what I mean here.




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                                                                                                                                                                                                                   Appl1cat1on                                        #1          Details

                          58               !03099614e3ca9d276982dfeb191279 Incoming                             [67.aud.silk] You tell me on ...tiich date you want to ccme back, and I'll issue the               WeChat          3/17/2019      3/17/20191 :03:19   67.aud.silk    silk        67.aud.silk_Converted
                                           d                                                                    ticket on that date for you. Okay?                                                                 wxid_qxgsc6h1xm                PM(UTC+O}                                      .wav
                                           Participants:                                                                                                                                                           d112
                                           wxid_qxgsc6h1xmd112 4 (owner},
                                           wxid_4U, wxid_ 4zadks4srrtc512
                                           uncfa

                          59 wxid_qxgsc6h f030996f4e3ca9d276982dfeb191279 Outgoing                              [68.aud.silk] I understand that as l. .. have been there for many times.                           WeChat          3/17/2019      3/17/2019 2:04:28   68.aud .silk   silk        68.aud.silk_Converted
                             1xmd1124 d                                                                                                                                                                            wxid_qxgsc6h1xm                PM(UTC+O}                                      .wav
                                          Participants:                                                                                                                                                            d112
                                          wxid_qxgsc6h1xmd112 4 (owner},
                                          wxid_4U , wxid_4zadks4srric512
                                           uncfa

                          60 wxid_qxgsc6h f030996f4e3ca9d276982dfeb191279 Outgoing                              [69.aud.silk] So, for this matter .. don1 v.orry. For this matter ... er. .. for this matter, no   WeChat          3/17/2019      3/17/2019 2:04:33   69.aud.silk    silk        69.aud.silk_Converted
                             1xmd1124 d                                                                         problem I am aware of that                                                                         wxid_qxgsc6h1xm                PM(UTC+O}                                      .wav
                                          Participants:                                                                                                                                                            d112
                                          wxid_qxgsc6h1xmd112 4 (owner),
                                          wxid_4U, wxid_ 4zadks4srric512
                                          uncfa

                          61   wxid_qxgsc6h f030996f4e3ca9d276982dfeb191279 Outgoing                            [70.aud.silk] I will- I will let you know...tien I may be ccming back later. We'll see             WeChat          3/17/2019      3/17/2019 2:04:43   70.aud.silk    silk        70.aud.silk_Converted
                               1xmd1124 d                                                                       later ... ...tien to buy it. Okay?                                                                 wxid_qxgsc6h1xm                PM(UTC+O}                                      .wav
                                            Participants:                                                                                                                                                          d112
                                            wxid_qxgsc6h1xmd112 4 (owner},
                                            wxid_4U, wxid_ 4zadks4smfc512
                                            uncfa

                          62 wxid_qxgsc6h f030996f4e3ca9d276982dfeb191279 Outgoing                              [71 .aud.silk] After you send me the itinerary for those days, I will then be able to              WeChat          3/17/2019      3/17/2019 2:04:56   71 .aud.silk   silk        71 .aud.silk_Converted
                             1xmd1124 d                                                                         specifically decide ...tien to purchase. That is after we sort out the entire itinerary, I         wxid_qxgsc6h1xm                PM(UTC+O}                                      .wav
                                          Participants:                                                         will add 1 to2 days ... or 2 to 3 days ... or 3 to 4 days as my free time at the end before I      d112
                                          wx id_qxgsc6h1xmd112 4 (owner},                                       come back. Let's v.ork on the final destination ... and decide ...tiere I go at the end-
                                          wxid_4U, wxid_4zadks4smfc512                                          the final destination (should be decided} first.
                                           uncfa

                          63 wxid_qxgsc6h f030996f4e3ca9d276982dfeb191279 Outgoing                              [72.aud.silk] On the 28th, is there- in a day--is there only one flight in a day? The              WeChat          3/17/2019      3/17/2019 2:05:34   72.aud.silk    silk        72.aud.silk_Converted
                             1xmd1124 d                                                                         28th ... say ... er ... departing in the evening and arrive the next day during the day. Is        wxid_qxgsc6h1xm                PM(UTC+O}                                      .wav
                                          Participants:                                                         there something like this?                                                                         d112
                                          wxid_qxgsc6h1xmd112 4 (owner},
                                          wxid_ 4U, wxid_ 4zadks4srrtc512
                                           uncfa

                          64 wxid_qxgsc6h f030996f4e3ca9d276982dfeb191279 Outgoing                              [73.aud.silk] In this case, I can save some money on hotel for one less night It's fine            WeChat          3/17/2019      3/17/2019 2:05:50   73.aud.silk    silk        73.aud.silk_Converted
                             1xmd1124 d                                                                         too.                                                                                               wxid_qxgsc6h1xm                PM(UTC+O}                                      .wav
                                          Participants:                                                                                                                                                            d112
                                          wxid_qxgsc6h1xmd112 4 (owner},
                                          wxid_ 4U, wxid_4zadks4srrtc512
                                          uncfa
                          65               f030996f4e3ca9d276982dfeb191279 Incoming     i/Jlltt@J7-;;,;j!f.S,   You have deleted a message.                                                                        WeChat          3/17/2019      3/17/2019 2:06:08
                                           d                                                                                                                                                                       wxid_qxgsc6h1xm                PM(UTC+O}
                                           Participants:                                                                                                                                                           d112
                                           wxid_qxgsc6h1xmd112 4 (owner},
                                           wxid_ 4U, wxid_4zadks4srric512
                                           uncfa
                          66               !03099614e3ca9d276982dfeb191279 Incoming                             [76.aud.silk] Hey Gorgeous, you have to tell me ...tiom you want to meet For                       WeChat             3/17/2019   3/17/2019 2:18:28   76.aud.silk    silk        76.aud.silk_Converted
                                           d                                                                    example, since you are not interested in sightseeing, we v.on't ccnsider that For                  wx id_qxgsc6h 1x m             PM(UTC+O}                                      .wav
                                           Participants:                                                        example, ~ you want to meet with real estate people. You want to meet with the real                d112
                                           wxid_qxgsc6h1xmd112 4 (owner},                                       estate people in the area of Miami, Florida ... or to meet with those in New York and
                                           wxid_ 4U, wxid_4zadks4smfc512                                        Washington. Or say, investment funds, I have made arrangement with the
                                           uncfa                                                                investment funds [people] on Wall Street. New York is all set You have to tell me
                                                                                                                what kind of businesses you want to explore , then I can make arrangements for you .
                                                                                                                You can't just say that you'll wait and see. You can't just sit on this. Please let me
                                                                                                                know now. You let me know and I'll schedule things for you. Okay?




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                            67               f030996f 4e3ca9d276982dfeb191279 Incoming
                                             d
                                             Participants:
                                             wxid_qxgsc6h1xmd112 ¥ (owner),
                                             wxid_ 4U, wxid_4zadks4smfc512
                                                                                         Body             Translation
                                                                                                                                                    UNCLASSJFIE D/IFOUO




                                                                                                                                                                                                            --
                                                                                                          [77.aud.silk] One more thing ... er. .. il's like this ... There are 12 hours of time difference WeChat
                                                                                                          between China and the US. Say 12 hours, it also takes nearly 12 hours fly there. Be-- wxid_qxgsc6h1xm
                                                                                                          Because of the connection flight...Because it's not non-stop ... there is ncldirectflight. ~ d112
                                                                                                          The one yesterday is--is somewhere in the US. Huh ... it's called Da--
                                                                                                          something ... Dallas or something. Another option is to fly from New York with a
                                                                                                                                                                                                                  3/17/2019
                                                                                                                                                                                                                            . .   .   .
                                                                                                                                                                                                                                          .   T1mestamp-Tlme


                                                                                                                                                                                                                                              3/17/2019 2:19:03
                                                                                                                                                                                                                                              PM(UTC+O)
                                                                                                                                                                                                                                                                  Attachment
                                                                                                                                                                                                                                                                  #1

                                                                                                                                                                                                                                                                  77.aud.silk
                                                                                                                                                                                                                                                                                ..
                                                                                                                                                                                                                                                                                 •- .
                                                                                                                                                                                                                                                                                silk
                                                                                                                                                                                                                                                                                        Attachment #2


                                                                                                                                                                                                                                                                                        77.aud.silk_Converted
                                                                                                                                                                                                                                                                                        .wav




                                             uncfa                                                        connection somewhere else. The time you talked about yesterday, let me--me--me--
                                                                                                          me check. I will work on that to see if I can get what you request Okay?


                            68               f030996f4e3ca9d276982dfeb191279 Incoming                     (78.aud.silk] Your real estate [meeting] in Miami. Miami is the south most part and               WeChat          3/17/2019         3/17/2019 2:19:55   78.aud.silk   silk    78.aud.silk_Converted
                                             d                                                            the most developed tourist city in the US. It's like Shenzhen in China. I think you               wxid_qxgsc6h1xm                   PM(UTC+O)                                 .wav
                                             Participants:                                                should go and check it out. Because it's near South America and Cuba. I think you                 d112
                                             wxid_qxgsc6h1xmd112 ¥ (owner},                               should come once. Very few Chinese tourists go to Miami. They mostly go to New
                                             wxid_4U, wxid_ 4zadks4smfc512                                York and Washington. They rarely go to the south. It happens that Trump's
                                             unda                                                         villa ... estate is there in the south. I think it's an opportunity for you. I suggest..it's
                                                                                                          like this ... you spend a day in Miami on the 31st Go there and check out the
                                                                                                          southern most part of the US. Meet with the real estate people there. Have a chat.
                                                                                                          Take a look. I think it's the best. That is the south most part of the US. You should
                                                                                                          go there. It's like Tianya Haijiao in China. Don't say you are not interested now.
                                                                                                          Right now it may not a place of your desire, but if you go, at least you've been there.
                                                                                                          You don't have that many opportunrtes (to go there) in your lifetime. Don't you agree?




                            69               f030996f4e3ca9d276982dfeb191279 Incoming                     (79.aud.silk] No, my rtinerary is for seven days--seven days. Take a look. You                    WeChat          3/17/2019         3/17/2019 2:20:35   79.aud.silk   silk    79.aud.silk_Converted
                                             d                                                            cancelled the original sightseeing part That is ... er ...the day on the 31st ... the day on      wxid_qxgsc6h1xm                   PM(UTC+O)                                 .wav
                                             Participants:                                                the the 31st, the day on the 1st and the day on the 2nd. These three days, these                  d112
                                             wxid_qxgsc6h1xmd112 ¥ (owner},                               three days, I have scheduled those days for you like this. Florida, I scheduled you for
                                             wxid_4U, wxid_4zadks4smfc512                                 one day ... no .. .er. .. Miami , for one day. If you don't like rt, then go to ... Washington.
                                              uncfa                                                       You have to go to Washington for once at least Right? Huh ...and then New York.
                                                                                                          To add these two places for 2 to 3 days. Alright? That's it Are you going to the
                                                                                                          United Nations? You haven't replied me last time.


                            70 wxid_qxgsc6h f030996f4e3ca9d276982dfeb191279 Outgoing                      Huh, okay.                                                                                        WeChat          3/18/2019         3/18/2019 5:43:51
                               1xmd112¥ d                                                                                                                                                                   wxid_qxgsc6h1xm                   AM(UTC+O)
                                            Participants:                                                                                                                                                   d112
                                            wxid_qxgsc6h1xmd112 ¥ (owner),
                                            wxid_4U, wxid_ 4zadks4smfc512
                                              uncfa

                            71   wxid_qxgsc6h f030996f4e3ca9d276982dfeb19f279 Outgoing   li-;Jc~ ~        Stay a day to look around and fly on that evening?                                                WeChat          3/18/2019         3/18/2019 5:44:17
                                 1xmd112¥ d                                              ?&Fc~:l<IIU:t~                                                                                                     wxid_qxgsc6h1xm                   AM(UTC+O)
                                              Participants:                                                                                                                                                 d112
                                              wxid_qxgsc6h1xmd112 ¥ (owner),
                                              wxid_ 4U, wxid_ 4zadks4smfc512
                                              uncfa
                            72 wxid_qxgsc6h f030996f4e3ca9d276982dfeb19f279 Outgoing                      [82.aud.silk] Washington ... I want to go to Seattle.                                             WeChat          3/18/2019         3/18/2019 5:44:46   82.aud.silk   silk    82.aud.silk_Converted
                               1xmd112¥ d                                                                                                                                                                   wxid_qxgsc6h1xm                   AM(UTC+O)                                 .wav
                                             Participants:                                                                                                                                                  d112
                                             wxid_qxgsc6h1xmd112 ¥ (owner),
                                             wxid_ 4U, wxid_ 4zadks4smfc512
                                              uncfa

                            73 wxid_qxgsc6h f030996f4e3ca9d276982dfeb19f279 Outgoing                      [83.aud.silk] In Washington ... ! would like to visit Microsoft. See if you can arrange it.       WeChat          3/18/2019         3/18/2019 5:45:24   83.aud.silk   silk    83.aud.silk_Converted
                               1xmd112¥ d                                                                                                                                                                   wxid_qxgsc6h1xm                   AM(UTC+O)                                 .wav
                                            Participants:                                                                                                                                                   d112
                                            wxid_qxgsc6h1xmd112 ¥ (owner),
                                            wxid_4U, wxid_4zadks4smfc512
                                            uncfa
                            74 wxid_qxgsc6h f030996f4e3ca9d276982dfeb19f279 Outgoing                      [84.aud.silk] I'll take your suggestion to go to Miami .                                          WeChat          3/18/2019         3/18/2019 5:45:39   84.aud.silk   silk    84.aud.silk_Converted
                               1xmd112¥ d                                                                                                                                                                   wxid_qxgsc6h1xm                   AM(UTC+O)                                 .wav
                                            Participants:                                                                                                                                                   d112
                                            wxid_qxgsc6h1xmd112 ¥ (owner),
                                            wxid_4U, wxid_4zadks4smfc512
                                            uncfa



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FlleNwnbcr: MM:·3088400

                                           To _ _   _ ___                              Body_ _ _ _   _ __                                                                                                 Source              T1mestamp T1mestamp-T1me      Attachment            Attachment #2
                                                                                                                                                                                                          Application         Date                          #1
                                                                                                                                                                                                                          I

                          75 wxid_qxgsc6h f030996f4e3ca9d276982dfeb191279 Outgoing                          [85.aud.silk] Stay a day there and scout out Fly out that evening .                           WeChat          3/18/2019     3/18/2019 5:45:43   85.aud.silk    silk   85.aud.silk_Converted
                             1xmd112• d                                                                                                                                                                   wxid_qxgsc6h1xm               AM(UTC+O)                                 .wav
                                          Participa nts:                                                                                                                                                  d112
                                          wxid_qxgsc6h1xmd112 • (owner),
                                          wxid_ 4U, wxid_ 4zadks4smfc512
                                          uncfa
                          76 wxid_qxgsc6h f030996f4e3ca9d276982dfeb191279 Outgoing                          [86.aud.silk] I'd like to go to washington State. Seattle.                                    WeChat          3/18/2019     3/18/2019 5:46:14   86.aud.silk    silk   86.aud .silk_Converted
                             1xmd11 2• d                                                                                                                                                                  wxid_qxgsc6h1xm               AM(UTC+O)                                 .wav
                                          Participants:                                                                                                                                                   d112
                                          wxid_qxgsc6h1xmd112 • (owner),
                                          wxid_ 4U, wxid_4zadks4smfc512
                                          uncfa
                          77               f030996f4e3ca9d276982dfeb191279 Incoming                         You have deleted a message.                                                                   WeChat          3/18/2019     3/18/2019 5:46:26
                                           d                                                                                                                                                              wxid_qxgsc6h1xm               AM(UTC+O)
                                           Participants:                                                                                                                                                  d112
                                           wxid_qxgsc6h1xmd112 • (owner),
                                           wxid_ 4U, wxid_ 4zadks4smfc512
                                           uncfa
                          78               f03o9g6f4e3ca9d276982dfeb191279 Incoming                         You have deleted a message.                                                                   WeChat          3/18/2019     3/18/2019 5:46:39
                                           d                                                                                                                                                              wxid_qxgsc6h1xm               AM(UTC+O)
                                           Participants:                                                                                                                                                  d112
                                           wxid_qxgsc6h1xmd112 • (owner),
                                           wxid_ 4U, wxid_ 4zadks4smfc512
                                           uncfa
                          79 wxid_qxgsc6h f030996f4e3ca9d276982dfeb191279 Outgoing                          (91 .aud.silk] In New York State ... ! want to go to t:v.o places-- washington                WeChat          3/18/2019     3/18/2019 5:47:13   91 .aud.silk   silk   91 .aud.silk_Converted
                             1xmd112• d                                                                     and ... er... New York City. In New York state .. . In Washington, please schedule a trip     wxid_qxgsc6h1xm               AM(UTC+O)                                 .wav
                                          Participants:                                                     to the White House. Other than the White House, if you have something besides                 d112
                                          wxid_qxgsc6h1xmd112 • (owner),                                    general touring and sightseeing activities, such as meeting and chatting with some
                                          wxid_ 4U, wxid_ 4zadks4smfc512                                    people. That will be fine too.
                                          uncfa
                          80 wxid_qxgsc6h f030996f4e3ca9d276982dfeb191279 Outgoing                          [g2.aud.silk] Let's say, after the White House tour, can you organize something like          WeChat          3/18/2019     3/18/2019 5:47:40   92.aud.silk    silk   92.aud.silk_Converted
                             1xmd112• d                                                                     meeting with the legislators on that day, for example. Er, ... some                           wxid_qxgsc6h1xm               AM(UTC+O)                                 .wav
                                          Participants:                                                     Congresspeople .. .or the Congress. Have a chat with some of them, or watch                   d1 12
                                          wxid_qxgsc6h1xmd112 • (owner),                                    their ... or watch thei r section, something like that Can you organize an activity like
                                          wxid_ 4U, wxid_4zadks4smfc512                                     that.
                                           uncfa

                          81   wxid_qxgsc6h f030996f4e3ca9d276982dfeb191279 Outgoing                        [93.aud.silk] As for New York, my thinking is that.. one thing (I 'd like to see) is .. one   WeChat          3/18/2019     3/18/2019 5:49:01   93.aud.silk    silk   93.aud.silk_Converted
                               1xmd112• d                                                                   thing is a mutual fund . Another thing is, well, if you can .. contact Columbia               wxid_qxgsc6h1xm               AM(UTC+O)                                 .wav
                                            Participants:                                                   University or ... New York University.                                                        d112
                                            wxid_qxgsc6 h1xmd112 • (owner),
                                            wxid_ 4U , wxid_ 4zadks4smfc512
                                            uncfa
                          82 wxid_qxgsc6h f030996f4e3ca9d276982dfeb191279 Outgoing                          (94.aud.silk] Find out~ they have any classes in finance or investment recently.              WeChat          3/18/2019     3/18/2019 5:49:22   94.aud.silk    silk   94.aud.silk_Converted
                             1xmd112• d                                                                                                                                                                   wxid_qxgsc6h1xm               AM(UTC+O)                                 .wav
                                          Participants:                                                                                                                                                   d112
                                          wxid_qxgsc6h1xmd112 • (owner),
                                          wxid_4U, wxid_4zadks4smfc512
                                            uncfa

                          83 wx id_qxgsc6h !03099614e3ca9d276982dfeb191279 Outgoing                         [95.aud.silk] Staying in Miami for a day or t:v.o is fine . No problem.                       WeChat          3/18/2019    3/18/2019 5:52:25    95.aud.silk    silk   95.aud.silk_Converted
                             1xmd112• d                                                                                                                                                                   wxid_qxgsc6h1xm              AM(UTC+O)                                  .wav
                                           Participa nts:                                                                                                                                                 d112
                                           wxid_qxgsc6h1xmd112 • (owner),
                                           wxid_4U, wxid_4zadks4srrtc512
                                           uncfa
                          84               !03099614e3ca9d276982dfeb 191279 Incoming                        (96.aud.silk] Hi Gorgeous, I got your voice message. Seattle is not on the east coast WeChat                3/18/2019      3/18/2019 5:53:23    96.aud.silk    silk   96.aud.silk_Converted
                                           d                                                                though. It's on the northwest side of the US, near Canada. Does this mean that~             wxid_qxgsc6h1xm                AM(UTC+O)                                  .wav
                                           Participants:                                                    will return from Seattle? Is that right? Is this what you want? Your last destination is l ld112
                                           wxid_qxgsc6h1xmd112 • (owner),                                   Seattle. Okay? Seattle is fine. I can schedule something for you in Seattle. Okay? '?( n,/»171"\
                                           wxid_ 4U, wxid_ 4zadks4smfc512                                   What do you want me to arrange for you? There 1s no problem. I can serve you all             /
                                           uncfa                                                            over the US. No problem. Once you make up your mind on Seattle, I will make
                                                                                                            arrangements. Okay?



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                           85
                                From       To                               D1rect1on


                                           f03099614e3ca9d276982dfeb191279 Incoming
                                           d
                                           Participants:
                                           wxid_qxgsc6h1xmd112 • {owner) ,
                                           wx id_4U, wxid_ 4zadks4smfc512
                                           uncfa
                                                                                        Body   Translation


                                                                                               [97.aud.silk) We have to book it today. It cannot be delayed any further. Okay? We
                                                                                               should just go ahead and book your trip as we have discussed. Okay?
                                                                                               This ... er .. . after the 30th, spend the day of the 31st in Miami ... in Miami [clear throat]
                                                                                               to meet wtth the local real o check out the local housing market Then check out the
                                                                                               southest part of the US. That same nigh~ I think you shouldn't rush and should
                                                                                               spend the night in Miami because the itinerary on that day is very... is very... tight I
                                                                                               will find a real estate perscn to accompany you to the edge of the US, it like Tianya
                                                                                                                                                                                                 Source
                                                                                                                                                                                                 Appl1cat1on

                                                                                                                                                                                                 WeChat
                                                                                                                                                                                                 wxid_qxgsc6h1xm
                                                                                                                                                                                                 d112
                                                                                                                                                                                                                 T1mestamp-
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                                                                                                                                                                                                                 3/18/2019
                                                                                                                                                                                                                             -3/18/2019 5:54:18
                                                                                                                                                                                                                              AM{UTC+O)
                                                                                                                                                                                                                                                   Attachment Attachment #1 -
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                                                                                                                                                                                                                                                   97.aud.silk
                                                                                                                                                                                                                                                              Details

                                                                                                                                                                                                                                                                 silk
                                                                                                                                                                                                                                                                                -
                                                                                                                                                                                                                                                                                97.aud.silk_Converted
                                                                                                                                                                                                                                                                                .wav




                                                                                               Haijiao {in China), that is the America's Tianya Haijiao. Also see the Caribbean.
                                                                                               You rrust go there, otherwise you will regret for not doing it for the rest of your life.
                                                                                               Once you get there, you'll enjoy the scenery in Caribbean, it's just like the heaven.
                                                                                               These are for the day of the 31st



                           86              f03099614e3ca9d276982dfeb191279 Incoming            [98.aud.silk] On the 31st, we'll find a rea l estate person to accompany you to check   WeC hat       3/18/2019                3/18/2019 5:55:10    98.aud.silk   silk           98.aud.silk_Converted
                                           d                                                   out the properties and the scenary along the way. Then that day is already very busy. wxid_qxgsc6h1xm                          AM{UTC+O)                                         .wav
                                           Parti cipants:                                       After that, you spend that night in Miami and fly to Washington on the morning of the d112
                                           wxid_qxgsc6h1xmd112 • {owner),                      1st Okay? I will make arrangements in Washington. I will make arrangements in
                                           wxid_4U, wxid_4zadks4smfc512                        Washington. One day in Washington. One day in Washington. Go to New York
                                           uncfa                                               afterwards. [Clear throat] New York. Spend a day in New York. Er... then fly to
                                                                                               Seattle. Let's schedule tt this way, okay? I have already made arrangements for you
                                                                                               to vistt a mutual fund company and a real estate company in New York. Learn about
                                                                                               the housing market in New York. Then go to a mutual fund company fa, a little btt.
                                                                                               Er... regarding the United Nations, have you been in there before? If you haven't been,
                                                                                               I can arrange you to stop by, look around and meet with some officials of the United
                                                                                               Nations. ls that good enough? Huh, the day in New York is qutte full too.




                           87              !03099614e3ca9d276982dfeb191279 Incoming            [99.aud.silk] Let me take a look at Washington. Let me see what's going on in                     WeChat          3/18/2019    3/1 B/2019 5:55:21   99.aud.silk   silk           99.aud.silk_Converted
                                           d                                                   Washington. If there is nothing interesting, {you can) fly to New York earlier, then you          wxid_qxgsc6h1xm              AM{UTC+O)                                         .wav
                                           Participants:                                       will have one spare day in Seattle.                                                               d112
                                           wxid_qxgsc6h 1xmd112 • {owner),
                                           wxid_4U, wxid_ 4zadks4smfc512
                                           uncfa

                           BB wx id_qxgsc6h !03099614e3ca9d276982dfeb191279 Outgoing           [100.aud.silk] Basically it's fine . The time in Miami ... there is no problem. One day in WeChat          3/18/2019           3/18/2019 6:09:53    100.aud.silk· silk           100.aud.silk_Converte
                              1xmd1124 d                                                       Washington is fine. And in NewYork.. . let's spend a day or two. How about two             wxid_qxgsc6h1xm                     AM{UTC+O)                                         d.wav
                                            Parti cipants:                                     days in New York? Because 1--you--l mentioned that I'd like to spend time on               d112
                                            wxid_qxgsc6h1xmd112 • {owner),                     communicating with people there. It's highly unlikely to have a communication
                                            wxid_4U, wxid_ 4zadks4smfc512                      section in the morning and another one in the afternoon. I'm afraid that there is not
                                            uncfa                                              enough time. The Untted Nations' officials ... in terms of the Untted
                                                                                               Nations ... officials... hmmm. You also talked about..you talked about visiting the
                                                                                               World Bank and the International Monetary Fund-can you check and see if you can
                                                                                               make an arrangement for me to go to the IMF?


                           89 wxid_qxgsc6h f03099614e3ca9d276982dfeb191279 Outgoing            [101 .aud.silk) The United Nations' officials ... tsk ... it's fine. I'm not too familiar.        WeChat          3/18/2019    3/18/2019 6:10:48    101 .aud.silk silk           101 .aud.silk_Converte
                              1xmd112,W, d                                                     haven't thought it through yet A tour at the Untted Nations doesn't seem sc                       wxid_qxgsc6h1xm              AM{UTC+O)                                         d.wav
                                           Participants:                                       necessary ... .                                                                                   d112
                                           wxid_qxgsc6h1xmd112 ,W, {owner),
                                           wxid_ 4U, wxid_4zadks4smfc512
                                           uncfa

                           90              f03099614e3ca9d276982dfeb191279 Incoming            [102.aud.silk] Hi Gorgeous, the 19th, that is tomorrow. Tomorrow the 19th, there is               WeChat          3/18/2019    3/18/2019 6:33:04    102.aud.silk silk            102.aud.silk_Converte
                                           d                                                   an International Women's Conference at the United Nations. Do you want to go? I                   wxid_qxgsc6h1xm              AM{UTC+O)                                         d.wav
                                           Participants:                                       can get you a ticket to fly there if you wa nt to go. I wi ll include this in the pakckage        d112
                                           wxid_qxgsc6h1xmd112 • {owner),                      and wont charge you extra. Do you want it? Do you want to check tt out and take a
                                           wx id_4U, wxid_4zadks4smfc512                       look at tt? Since you'll meet a lot of people in New York anyway.
                                           uncfa




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                           91              f030996f4e3ca9d276962dfeb191279 Incoming            [103.aud.silk] Eh, here is the thing --1 just got an email. I read an email, an email             WeChat             3/16/2019   3/16/2019 6 :34:45   103.aud.silk silk    103.aud.silk_Converte
                                           d                                                   saying that in Trump's estate-- it says that the event on 3/30 may be cancelled. Now              wx id_qxgsc6h1 x m             AM(UTC+O)                                 d.wav
                                           Participants:                                       they are advising us not to buy tickets for the time being as the President may have              d112
                                           wxid_qxgsc6h1 x md112 • (owner),                    arranged some political events there. There may be schedule conflicts. It is not
                                           wxid_ 4U , wxid_4zadks4smfc512                      confirmed yet, and they can only let us know in a week. I am thinking that there
                                           uncfa                                               happens to be a huge assembly at the United Nations, a huge assembly on the 19th.
                                                                                               There is a huge assembly tomorrow. Perhaps you want to go over there to check it
                                                                                               out. How about that? If it's cancelled over there and you don't want to go to the
                                                                                               United Nations instead, I can refund you the money. If you go to that assembly, the--
                                                                                               the--the balance is taken care of. You think about it and let me know, okay? The
                                                                                               19th is tomorrow. If so, you have to buy that ticket today. Can you do it?



                           92              !03099614e3ca9d276962dfeb191279 Incoming            [104.pic_thum] [This appears to be an invrration to a face-to-face meeting,                       WeChat          3/16/2019      3/16/2019 6:36:00    104.pic_thu
                                           d                                                   handshaking , and photo op wrrh Buffett at the Omaha Conference during May 3-5,                   wxid_qxgsc6h1xm                AM(UTC+O)            m
                                           Part ic i pants:                                    2019.]                                                                                            d112
                                           wxid_qxgsc6h1xmd112 • (owner),
                                           wxid_ 4U, wxid_4zadks4smfc512
                                           unda

                           93              f030996f4e3ca9d276962dfeb191279 Incoming            [105.pic_thum] [This appears to be an invitation to the charity dinner during April 6-12,         WeChat          3/16/2019      3/16/2019 6:36:06    105.pic_thu
                                           d                                                   2019 at the Wall Stree~ an opportunity to have a face-to-face exchange, discussion                wxid_qxgsc6h1xm                AM(UTC+O)            m
                                           Participants:                                       for cooperation, dinner, and photo with the couple and other politicians and                      d112
                                           wxid_ qxgsc6h1xmd112 • (owner),                     businessmen, etc.]
                                           wxid_ 4U, wxid_ 4zadks4smfc512
                                           unda

                           94              f030996f4e3ca9d276962dfeb191279 Incoming            [106.aud.silk] The prices for these two events are the same. Huh, if we have to wait              WeChat          3/16/2019      3/16/2019 6:36:36    106.aud.silk silk    106.aud.silk_Converte
                                           d                                                   one week to find out what is going on there, there is no way to rush it Huh ... you               wxid_qxgsc6h1xm                AM(UTC+O)                                 d.wav
                                           Parti c ipa nts:                                    think about it The event at the United Nations tomorrow, you can go there Wyou can                d112
                                           wxid_qxgsc6h1xmd112 • (owner),                      make it If not-there are l'NO other events. If you want to go, we can make
                                           wxid_ 4U, wxid_ 4zadks4smfc512                      arrangements. If you are not interested, we can refund you the money. Okay? Our
                                           uncfa                                               way of doing things is that we discuss with you (and find out the solution) . Yeah.


                           95              f030996f4e3ca9d276962dfeb191279 Incoming            [107.aud.silk] I found out you are ... you are indeed very lucky. Your hesitation just            WeChat          3/16/2019      3/16/2019 6:36:53    107.aud.silk silk    107.aud.silk_Converte
                                           d                                                   worked out perfectly in this case. It is good that we haven't bought the tickets.                 wxid_qxgsc6h1xm                AM(UTC+O)                                 d.wav
                                           Parti c ipants:                                     Otherwise we would have lost money Wwe had bought the tickets.                                    d112
                                           wxid_qxgsc6h1xmd112 • (owner),
                                           wxid_ 4U , wxid_ 4zadks4smfc512
                                           unda

                           96 wxid_qxgsc6h !03099614e3ca9d276962dfeb191279 Outgoing            [106.aud.silk] I thought about it That... in fact Seattle is quite far. It's so far in the        WeChat          3/16/2019      3/16/2019 6:36:59    106.aud.silk silk    106.aud.silk_Converte
                              1xmd112• d                                                       north, near Canada. Er ... if this ... I will decide later. No need to make arrangements          wxid_qxgsc6h1xm                AM(UTC+O)                                 d.wav
                                           Parti cipants:                                      now. Wait until later. Okay? Wait until I get there, when I get there I will see... say,          d112
                                           wxid_qxgsc6h1xmd112 • (owner),                      on the 31st, I will decide Wl. .. or after I arrive in the US, I'll decide whether I go to
                                           wxid_ 4U, wxid_4zadks4smfc512                       Seattle. What do you think? It's really far . It's a little ... kind of being out of the way in
                                           uncfa                                               terms of this trip.

                           97 wxid_qxgsc6h f030996f4e3ca9d276962dfeb191279 Outgoing            [109.aud.silk] Huh, here is the thing ... the ... the United Nations Women's Conference           WeChat          3/16/2019      3/16/2019 6:41 :46   109.aud.silk silk    109.aud.silk_Converte
                              1xmd112• d                                                       is really too rush . I am not prepared for that at all. So I'm not going.                         wxid_qxgsc6h1xm                AM(UTC+O)                                 d.wav
                                           Parti cipants:                                                                                                                                        d112
                                           wxid_qxgsc6h1xmd112 • (owner),
                                           wxid_4U, wxid_4zadks4smfc512
                                           unda

                           96 wxid_qxgsc6h f030996f4e3ca9d276962dfeb19f279 Outgoing            [11 O.aud.silk] Also ...                                                                          WeChat            3/16/2019    3/16/2019 6:41 :55   110.aud.silk silk    110.aud.silk_Converte
                              1x md112• d                                                                                                                                                        wx id_qxgsc6h1 xm              AM(UTC+O)                                 d.wav
                                           Participants:                                                                                                                                         d112
                                           wxid_ qxgsc6h1 xmd112 • (owner),
                                           wxid_4U, wxid_4zadks4smfc512
                                           uncfa

                           99 wxid_qxgsc6h f030996f4e3ca9d276962dfeb191279 Outgoing            [111 .aud.silk] I'm not going to Washington. Er. .. l'm not going to Seattle either.              WeChat          3/16/2019      3/16/2019 6:42:03    111 .aud.silk silk   111 .aud.silk_Converte
                              1x md112• d                                                                                                                                                        wxid_qxgsc6h1xm                AM(UTC+O)                                 d.wav
                                           Parti cipants:                                                                                                                                        d112
                                           wxid_qxgsc6h1xmd112 • (owner),
                                           wxid_4U, wxid_ 4zadks4smfc512
                                           uncfa

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                                                                                                             24                                                UNO.ASSIFIED/IFOUO
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                          I     From      To




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                          100 wxid_qxgsc6h f030996f4e3ca9d276982dfeb19f279 Outgoing
                              1xmd112¥ d
                                           Participants:
                                           wxid_qxgsc6h1xmd112 ¥ {owner),
                                           wxid_4U, wxid_4zadks4smfc512
                                           uncfa
                                                                                      Body                          Translation


                                                                                                                    [112.aud.silk] I'm not going to Seattle.
                                                                                                                                                                                                                     Source
                                                                                                                                                                                                                    IApplicat1on

                                                                                                                                                                                                                    WeChat
                                                                                                                                                                                                                    wxid_qxgsc6h1xm
                                                                                                                                                                                                                    d112
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                                                                                                                                                                                                                                                T1mestamp-T1me


                                                                                                                                                                                                                                                3/18/2019 6:42:09
                                                                                                                                                                                                                                                AM(UTC+O)
                                                                                                                                                                                                                                                                    Attachment Attachment #1. Attachment #2
                                                                                                                                                                                                                                                                    #1         Details

                                                                                                                                                                                                                                                                    112.aud.silk silk         112.aud.silk_Converte
                                                                                                                                                                                                                                                                                              d.wav




                          101 wxid_qxgsc6h f030996f4e3ca9d276982dfeb19f279 Outgoing                                 [113.aud.silk] In that case, we'll book the tickets later. We'll see. Okay?                     WeChat          3/18/2019   3/18/2019 6:42:23   113.aud.silk silk         113.aud.silk_Converte
                              1xmd112¥ d                                                                                                                                                                            wxid_qxgsc6h1xm             AM(UTC+O)                                     d.wav
                                           Participants:                                                                                                                                                            d112
                                           wxid_qxgsc6h1xmd112 ¥ {owner),
                                           wxid_ 4U, wxid_4zadks4smfc512
                                          uncfa

                          102 wxid_qxgsc6h f030996f4e3ca9d276982dfeb19f279 Outgoing                                 [114.aud.silk] Let's do what you said, we justwa~ and see what happens. We'll see.              WeChat          3/18/2019   3/18/2019 6:42:30   114.aud.silk silk         114.aud.silk_Converte
                              1xmd112¥ d                                                                                                                                                                            wxid_qxgsc6h1xm             AM(UTC+O)                                     d.wav
                                           Participants:                                                                                                                                                            d112
                                           wxid_qxgsc6h1xmd112 ¥ {owner),
                                           wxid_ 4U, wxid_4zadks4srric512
                                          uncfa

                          103 wxid_qxgsc6h f030996f4e3ca9d276982dfeb19f279 Outgoing                                 [115.aud.silk] In add~ion, don't make contact with the universities in New York for             WeChat          3/18/2019   3/18/2019 7:03:20   115.aud.silk silk         115.aud.silk_Converte
                              1xmd112¥ d                                                                            now.                                                                                            wxid_qxgsc6h1xm             AM{UTC+O)                                     d.wav
                                           Participants:                                                                                                                                                            d112
                                           wxid_qxgsc6h1xmd112 ¥ {owner),
                                           wxid_4U, wxid_4zadks4smfc512
                                           uncfa
                          104 wxid_qxgsc6h f030996f4e3ca9d276982dfeb19f279 Outgoing                                 [116.aud.silk] Huh .. . there is no particular reason forthal I just figured that it'd better   WeChat          3/18/2019   3/18/2019 7:03:24   116.aud.silk silk         116.aud.silk Converte
                              1xmd112¥ d                                                                            if there is m,re time to communicate with others.                                               wxid_qxgsc6h1xm             AM{UTC+O)                                     d.wav       -
                                           Participants:                                                                                                                                                            d112
                                           wxid_qxgsc6h1xmd112 ¥ {owner),
                                           wxid_4U, wxid_ 4zadks4srric512
                                          uncfa

                          105 wxid_qxgsc6h f030996f4e3ca9d276982dfeb19f279 Outgoing                                 [117.aud.silk] So don1 make the contact for now. Thank you.                                     WeChat          3/18/2019   3/18/2019 7:03:36   117.aud.silk silk         117.aud.silk_Converte
                              1xmd112¥ d                                                                                                                                                                            wxid_qxgsc6h1xm             AM{UTC+O)                                     d.wav
                                           Participants:                                                                                                                                                            d112
                                           wxid_qxgsc6h1xmd112 ¥ (owner),
                                           wxid_ 4U, wxid_4zadks4smfc512
                                           uncfa
                          106             f030996f4e3ca9d276982dfeb191279 Incoming    <msg><emoji                                                                                                                   WeChat          3/18/2019   3/18/2019 7:40:24
                                          d                                           fromusername=''wxid_4zad                                                                                                      wxid_qxgsc6h1xm             AM{UTC+O)
                                          Participants:                               ks4smfc512''                                                                                                                  d112
                                          wxid_qxgsc6h1xmd112 ¥ (owner) ,             tousername=''wxid_qxgsc6h
                                          wxid_ 4U , wxid_4zadks4smfc512              1xmd112" type="Z'
                                           uncfa                                      idbuffer="media:O_O"
                                                                                      md5="867d06b8d37dc21a0
                                                                                      db3a045a0ed7da6"
                                                                                      len="88513"
                                                                                      productid="com.tencent xin.
                                                                                      emoticon.person.stiker_148
                                                                                      1366007847bf887d1131340

                                                                                      androidmd5="867d06b8d37
                                                                                      dc21 a0db3a045a0ed7 da6"
                                                                                      androidlen=''88513"
                                                                                      s60.,3md5="867 d06b8d37d
                                                                                      c21a0db3a045a0ed7da6"
                                                                                      s60.,31en="88513"
                          107              f030996f4e3ca9d276982dfeb19f279 Incoming                                 [119.pic] [The page states that the rise of the regional flag of the Hong Kong SAR of           WeChat          3/18/2019   3/18/2019           119.pic
                                           d                                                                        PRC on July 1, 1997.]                                                                           wxid_qxgsc6h1xm             10:53:34
                                           Participants:                                                                                                                                                            d112                        AM{UTC+O)
                                           wxid_qxgsc6h1xmd112 ¥ {owner),
                                           wxid_4U, wxid_4zadks4smfc512
                                           uncfa


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                           108
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                                           !03099614e3ca9d276982dfeb19!279 Incoming
                                           d
                                           Participants:
                                           wxid_qxgsc6h1xmd112 4 {owner),
                                           wxid_ 4U, wxid_4zadks4smfc512
                                                                                        ;   ..
                                                                                                              24                                             UNCI..ASSIFIED//FOUO




                                                                                                                     [120.pic] [This appears to be a flyer about a couple city improvement investment
                                                                                                                     projects. Interested party can submtt relevant documents for them to apply. Specific
                                                                                                                     information was not mentioned.)
                                                                                                                                                                                                                 Source
                                                                                                                                                                                                                 Applicat~
                                                                                                                                                                                                                 WeChat
                                                                                                                                                                                                                 'M<id_qxgsc6h1xm
                                                                                                                                                                                                                 d112
                                                                                                                                                                                                                                   T1mestamp- T1mestamp-T1me
                                                                                                                                                                                                                                   Date
                                                                                                                                                                                                                                  3/18/2019     3/18/2019
                                                                                                                                                                                                                                                11:12:38
                                                                                                                                                                                                                                                AM{UTC+O)
                                                                                                                                                                                                                                                                    120.pic
                                                                                                                                                                                                                                                                                ... -   .
                                                                                                                                                                                                                                                                                            Attachment #2




                                           uncfa
                           109              f030996f4e3ca9d276982dfeb19f279 Incoming                                 [124.pic] [This page displays the available job opportuntties in Saudi Arabia, UAE,         WeChat             3/23/2019   3/23/20191 :34:43   124.pic
                                            d                                                                        and Bahrain.]                                                                               'M< id_qxgsc6h1 xm             PM{UTC+O)
                                            Participants:                                                                                                                                                        d112
                                            wxid_qxgsc6h1xmd112 4 {owner),
                                            wxid_4U, wxid_4zadks4smfc512
                                            uncfa
                           110              f030996f4e3ca9d276982dfeb19!279 Incoming                                 You have deleted a message.                                                                 WeChat           3/24/2019     3/24/2019
                                            d                                                                                                                                                                    'M<id_qxgsc6h1xm               10:14:49
                                            Participants:                                                                                                                                                        d112                           AM{UTC+O)
                                            wxid_qxgsc6h1xmd112 ¥ {owner) ,
                                            wxid_ 4U, wxid_4zadks4srrtc512
                                            uncfa
                           111              !03099614e3ca9d276982dfeb19!279 Incoming    <sysmsg                      <sysmsg type:="editrevokecontent''>                     <editrevokecontent>                 WeChat           3/24/2019     3/24/2019
                                            d                                           type="edttrevokecontent''>       <text><l[CDATA[You have deleted a message.])></text>                         <link>     'MCid_qxgsc6h1xm               10:15:00
                                            Participants:                                                                           <scene>editrevokecontent</scene>                                             d112                           AM{UTC+O)
                                            wxid_qxgsc6h1xmd112 4 {owner),              <editrevokecontent>          <text><![CDATA[Edited])></text>
                                            wxid_4U, 'M<id_4zadks4smfc512                                            <revokecontent>< ![GOATA[Updated])></revokecontent>
                                            uncfa                                       <text> <![CDATA[i/Jl!l@l 7   <createTime><![CDATA[1553422526])></createTime>                           </link>
                                                                                        - !¥,ll'L'-lJ> </text>                 </editrevokecontent>                    </sysmsg>
                                                                                                 <link>

                                                                                        <scene>editrevokecontent</
                                                                                        scene>
                                                                                        <text> <![CDATA[.ffi!il§JJ
                                                                                        ></text>
                                                                                        <revokecontent>< l[CDATA[
                                                                                        ll!ffi7-l'
                                                                                        ]]></revokecontent>

                                                                                        <createTime><![CDATA[15
                                                                                        53422526])></createTime>
                           112 'MCid_qxgsc6h f030996f4e3ca9d276982dfeb19!279 Outgoing                                [129.pic] [This appears to be an invitation letter similar to the previous one with minor   WeChat            3/24/2019    3/24/2019           129.pic
                               1xmd112• d                                                                            changes to the content. It reads: Zhang Yujing, who y.,,as engaged in investment and        wxid_qxgsc6h1xm                10:16:41
                                             Participants:                                                           economic management insdustry [sic] in more than 8 years. The main purpose of               d112                           AM(UTC+O)
                                             wxid_qxgsc6h1xmd112 ¥ {owner),                                          the attendence [sic] on the 30th of the May is to promote the bilateral relationship of
                                             wxid_4U, wxid_ 4zadks4smfc512                                           China and United States, especially the econimic and trade relationship, so that the
                                             uncfa                                                                   two countries have more cooperations. She is looking forward to reach a certain
                                                                                                                     degree of cooperation with the participants.]


                           113 'MCid_qxgsc6h f030996f4e3ca9d276982dfeb19!279 Outgoing                                Updated                                                                                     WeChat           3/24/2019     3/24/2019
                                1xmd112¥ d                                                                                                                                                                       'M<id_qxgsc6h1xm               10:16:48
                                             Participants:                                                                                                                                                       d112                           AM{UTC+O)
                                             wxid_qxgsc6h1xmd112 • (owner),
                                             wxid_ 4U, wxid_4zadks4smfc512
                                            uncfa

                           114              !03099614e3ca9d276982dfeb19!279 Incoming                                 [134.aud.silk] Hey Gorgeous, ...I just read the email in the morning, regarding the         WeChat           3/26/2019     3/26/2019           134.aud.silk silk       134.aud.silk_Converte
                                            d                                                                        event at the Trump's estate, it's been put on hold for now. We can forget about it          'MCid_qxgsc6h1xm               11 :35:52                                   d.wav
                                            Participants:                                                            We have two other activities now. I sent them to you already. One is ...One is a            d112                           AM{UTC+O)
                                            wx id_qxgsc6h1xmd112 ¥ {owner),                                          Ctintons' event, Clinton and his wife Hillary. The prices for both of them are the
                                            wxid_4U, wxid_ 4zadks4smfc512                                            same. I suggest you attend this event. There are poltticians and the finance people
                                            uncfa                                                                    that you talked about wanting to meet in this event You can meet with those two
                                                                                                                     famous people in one setting. Hillary was the former Secretary of State, equivalent to
                                                                                                                     the Prime Minister. That is very extraordinary. Er. .. you can stand in between them
                                                                                                                     and have a photo taken. It's this price. I think this event is very good. You can also
                                                                                                                     go to Buffett's event which is particularly for investment and finance . But as for the
                                                                                                                     price ... 11 you go to the event without taking pictures, $20,000 will do. If you want to
                                                                                                                     have a photo with him, the price goes up to ... $60,000.


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                          115
                                From      To                               Direction


                                          f03D996f4e3ca9d276982dfeb191279 Incoming
                                          d
                                          Participants:
                                          wxid_qxgsc6h1xmd112 ,¥ (owner),
                                          wxid_ 4U, wxid_4zadks4smfc512
                                          uncfa
                                                                                       Body                                 Translation


                                                                                                                            (135.aud.silk] We got the "insider's price" for $40,000 here. You have to come up
                                                                                                                            with another $20,000. So ... you decide ... er... which--which--which one is better for
                                                                                                                            you. Okay? Huh. Say .. . l suggest you not to pay the extra and just go to ... go to the
                                                                                                                            C/inlons' event After all, he was a POTUS. He can provide you more value than
                                                                                                                            Buffett can. Also, there is the former Secretary of State. I say you go there and take
                                                                                                                            a picture (with them) . It means more. You can also meet a lot of people; those
                                                                                                                            politicians and businessmen elites are all there. Okay? I'm going to that event as
                                                                                                                                                                                                                       11111
                                                                                                                                                                                                                       WeChat
                                                                                                                                                                                                                       wxid_qxgsc6 h1 xm
                                                                                                                                                                                                                       d112
                                                                                                                                                                                                                                         Tlmest amp-1T1mestamp-T1me
                                                                                                                                                                                                                                         Date

                                                                                                                                                                                                                                         3/26/2019   3/26/2019
                                                                                                                                                                                                                                                     11 :36:28
                                                                                                                                                                                                                                                     AM(UTC+O)
                                                                                                                                                                                                                                                                         -            Attachment #1 - Attachment #2
                                                                                                                                                                                                                                                                                      Deta ils

                                                                                                                                                                                                                                                                         135.aud.silk silk           135.aud.silk_Converte
                                                                                                                                                                                                                                                                                                     d .Vv'a.V




                                                                                                                            well. Yeah. I can accompany you there and take pictures for you. Okay?



                          116             f030996f4e3ca9d276982dfeb19f279 Incoming                                          (136.pic] [The page reads the charity meeting with former President Clinton and            WeChat          3/26/2019     3/26/2019 3:08:07   136.pic
                                          d                                                                                 former Secretary of State Clinton during 4/8-1212019 at Detroit]                           wxid_qxgsc6h1xm               PM(UTC+O)
                                          Participants:                                                                                                                                                                d112
                                          wxid_qxgsc6h1xmd112 ,¥ (owner),
                                          wxid_ 4U, wxid_ 4zadks4smfc512
                                          uncfa
                          117 wxid_qxgsc6h f030996f4e3ca9d276982dfeb19f279 Outgoing                                         Forget it. Just get a refund then.                                                         WeChat          3/27/2019     3/27/2019 4:22:57
                              1xmd112 ¥    d                                                                                                                                                                           wxid_qxgsc6h1xm               AM(UTC+O)
                                           Participants:                                                                                                                                                               d112
                                           wxid_qxgsc6h1xmd112 ,¥ (owner),
                                           wxid_ 4U, wxid_4zadks4srrlc512
                                          uncfa

                          118 wxid_qxgsc6h f03D996f4e3ca9d276982dfeb19f279 Outgoing                                         Wire it straight to my account                                                             WeChat          3/27/2019     3/27/2019 4:23:32
                              1xmd112¥ d                                                                                                                                                                               wxid_qxgsc6h1xm               AM(UTC+O)
                                           Participants:                                                                                                                                                               d112
                                           wxid_qx gsc6h1 xmd112 ¥ (owner),
                                           wxid_4U, wxid_ 4zadks4sm!c512
                                          uncfa

                          119 wxid_qxgsc6h f030996f4e3ca9d276982dfeb19f279 Outgoing                                         I'm not going.                                                                             WeChat          3/27/2019     3/27/2019 4:25:41
                              1xmd112¥ d                                                                                                                                                                               wxid_qxgsc6h1xm               AM(UTC+O)
                                           Participants:                                                                                                                                                               d112
                                           wxid_qxgsc6h1xmd112 ¥ (owner),
                                           wxid_4U, wxid_ 4zadks4smfc512
                                          uncfa

                          120 wxid_qxgsc6h f030996f4e3ca9d276982dfeb19f279 Outgoing                                         Need the money urgently. Go ahead and credit the money back to my account by               WeChat          3/27/2019     3/27/2019 4:32:28
                              1xmd112¥ d                                                                                    this weekend.                                                                              wxid_qxgsc6h1xm               AM(UTC+O)
                                           Participants:                                                                                                                                                               d112
                                           wxid_qxgsc6h1xmd112 ¥ (owner),
                                           wxid_4U, wxid_4zadks4srrlc512
                                           uncfa

                          121 wxid_qxgsc6h f030996f4e3ca9d276982dfeb19f279 Outgoing                                         Please let them know.                                                                      WeChat          3/27/2019     3/27/2019 4:32:32
                              1xmd112¥ d                                                                                                                                                                               wxid_qxgsc6h1xm               AM(UTC+O)
                                           Participants:                                                                                                                                                               d112
                                           wxid_qxgsc6h1xmd112 ,¥ (owner),
                                           wxid_ 4U, wxid_4zadks4smfc512
                                           uncfa
                          122              f030996f4e3ca9d276982dfeb191279 Incoming                                         (142.aud.silk] It's okay. Just send me your account number. Send me the account            WeChat          3/27/2019     3/27/2019 6:42:58   142.aud.silk silk           142.aud.silk_Converte
                                           d                                                                                number again. Okay.                                                                        wxid_qxgsc6h1xm               AM(UTC+O)                                       d.wav
                                           Participants:                                                                                                                                                               d112
                                           wxid_qxgsc6h1xmd112 ¥ (owner),
                                           wxid_4U, wxid_4zadks4sm!c512
                                           uncfa

                          123 wxid_qxgsc6h f030996f4e3ca9d276982dfeb19f279 O utgoing   1' Jll*i!iDJll   ~n11Jlt,j~ j!j:t7   1' Thank you.    I'll see then .                                                           WeChat          3/27/2019     3/27/2019 9:47:20
                              1xmd112¥ d                                                                                                                                                                               wxid_qxgsc6h1xm               AM(UTC+O)
                                           Participants:                                                                                                                                                               d112
                                           wxid_qxgsc6h1xmd112 ,¥ (owner),
                                           wxid_ 4U, wxid_4zadks4smfc512
                                           uncfa




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                                                                                                            24                            UNC1ASSIFIE.D1/FOUO



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                                                                                                                                                                                                             Date                             I#1
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                                                                                                                                                                                                                                                              Details
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                          124             f030996f4e3ca9d276982dfeb191279 Incoming             [144.aud.silk) Gorgeous, I suggest.. .those two events, you should go--you should go          WeChat          3/27/2019   3/27/2019            144.aud.silk silk             144.aud.silk_Converte
                                          d                                                    to those two events . I am saying the event with Clinton and his wife, Hillary, former        wxid_qxgsc6h1xm             10:48:38                                           d.wav
                                          Participants:                                        Secretary of the State. They have a lot of connections and resources. They happen             d112                        AM(UTC+O)
                                          wxid_qxgsc6h1xmd112 • (owner),                       to be on the Wall Street, in New York. Don't you want to meet with those big potatos
                                          wxid_ 4U, wxid_4zadks4smfc512                        in finance ? Most of the powerful people will be there. You know, the Presidents are
                                          uncfa                                                all supported by the wealthy capitalists. These people always come forward for these
                                                                                               events. Those are really the Wall Street big wigs. I believe it is good for you and fits
                                                                                               your original idea. it's consistent with it


                          125             f030996f4e3ca9d276982dfeb191279 Incoming             [145.aud.silk] As for Trump's event, they are mostly for Chinese people, mainly               WeChat          3/27/2019   3/27/2019            145.aud.silk silk             145.aud.silk_Converte
                                          d                                                    because of its location. As for the other events, you say, the--you say, the--the--           wxid_qxgsc6h1xm             10:49:27                                           d.wav
                                          Participants:                                        the ... er ... class of the people who attend, it's better to go to the President's--         d112                        AM(UTC+O)
                                          wxid_qxgsc6h1xmd112 • (owner),                       President's event, it's at a higher level. I suggest you to go. It's worth it The next
                                          wxid_4U, wxid_4zadks4smfc512                         one is the Buffett's gathering for investors. If you don't want to take pictures , there is
                                          uncfa                                                no need to pay extra. You take a look. You'll meet a lot of people. I think you should
                                                                                               pick one out of these two events. You should go. There's no problem if you want
                                                                                               your money back. It's fine. Send me the account number at any time and I will
                                                                                               refund you. No problem. Okay? We deliver our promises. We live on our honor!
                                                                                               There will be some other time down the road (to WOfk with you) . Absolutely no
                                                                                               worries.


                          126             !03099614e3ca9d276982dfeb191279 Incoming             [146.aud.silk) Tha~ you take a look. We were talking about the East Coast. .. until           WeChat          3/27/2019   3/27/2019            146.aud.silk silk             146.aud.silk_Converte
                                          d                                                    now we just talked about the East Coast, that is, New York and Washington . You               wxid_qxgsc6h1xm             10:50:20                                           d.wav
                                          Participants:                                        have been there. It's nothing new to you. But you should think about going to the             d112                        AM(UTC+O)
                                          wxid_qxgsc6h1xmd112 • (owner),                       West Coast, for example, the Hollyv.ood and Seattle, as you mentioned, or Los
                                          wxid_ 4U , wxid_ 4zadks4srrtc512                     Angeles and Las Vegas. Los Angeles is on the We& Coast. of the US. In May... early
                                          uncfa                                                May, May 1st to May 3rd, the Clintons will also have an event in Los Angeles. If you
                                                                                               don't want to go check out the East Coast but want to go check out the We& Coas~ I
                                                                                               can make arrangements for you too. I can do that Anyway, I will send you the
                                                                                               information and you can decide. Ah, Gorgeous, huh.

                          127             !03099614e3ca9d276982dfeb191279 Incoming             [147.aud.silk) Anyway , there are always el~es from the financial industry, business          WeChat          3/27/2019   3/27/2019            147. aud .silk silk           147.aud.silk_Converte
                                          d                                                    people and a bunch of big wigs who are behind the events associated with the                  wxid_qxgsc6h1xm             10:50:30                                           d.wav
                                          Participants:                                        Presidents, otherwise it won't work. You know?                                                d112                        AM(UTC+O)
                                          wxid_qxgsc6h1xmd112 ¥ (owner),
                                          wxid_ 4U, wxid_ 4zadks4srrtc512
                                          uncfa
                          128 wxid_qxgsc6h f030996f4e3ca9d276982dfeb191279 Outgoing            [148.aud.silk) But Buffett's event, I think ... tsk... it's not very useful to attend.        WeChat          3/27/2019   3/27/2019 5:25:28    148.aud.silk silk             148.aud.silk_Converte
                              1xmd112¥ d                                                                                                                                                     wxid_qxgsc6h1xm             PM(UTC+O)                                          d.wav
                                           Participants:                                                                                                                                     d112
                                           wxid_qxgsc6h1xmd112 ¥ (owner),
                                           wxid_4U, wxid_4zadks4smfc512
                                          uncfa

                          129 wxid_qxgsc6h f030996f4e3ca9d276982dfeb191279 Outgoing            [149.aud.silk) Perhaps, I basically ju& want to meet some peers in the same industry.         WeChat          3/27/2019   3/27/2019 5:25:35    149.aud.silk silk             149.aud.silk_Converte
                              1xmd112¥ d                                                        Okay? To meet some investors or people like that                                             wxid_qxgsc6h1xm             PM(UTC+O)                                          d.wav
                                           Participants:                                                                                                                                     d112
                                           wxid_qxgsc6h1xmd112 ¥ (owner),
                                           wxid_4U, wxid_4zadks4smfc512
                                           uncfa
                          130             f030996f4e3ca9d276982dfeb191279 incoming             [150.aud.silk] I suggest you go to ... well, you decide yourse~. Because--Because             WeChat          3/27/2019   3/27/2019 6:30:47    150.aud .silk silk            150.aud.silk_Converte
                                          d                                                    Buffett's event is about investment Aren't you interested in finance? There are               wxid_qxgsc6h1xm             PM(UTC+O)                                          d.wav
                                          Participants:                                        plenty of peers there. International big wigs are all coming too. Right?                      d112
                                          wxid_qxgsc6h1xmd112 ¥ (owner),
                                          wxid 4U, wxid 4zadks4smfc512
                                          uncfa         -

                          131             !03099614e3ca9d276982dfeb191279 Incoming             [151 .aud.silk) Er ... the Clintons ' .. .that is, there will be politicians ... as well as   WeChat          3/27/2019   3/27/2019 6:31 :15   151 .aud.silk silk            151.aud.silk_Converte
                                          d                                                    financiers. You know? I suggest you pick one between these two--these two.                    wxid_qxgsc6h1xm             PM(UTC+O)                                          d.wav
                                          Participants:                                        Right? This is a rare opportunity. What's good about the C/intons' event? You can             d112
                                          wxid_qxgsc6h1xmd112 • (owner),                       take a picture with Clinton and Hillary. It's so worth it Right? A pretty girl like you
                                          wxid_4U, wxid_ 4zadks4smfc512                        standing in the middle, and on one side is the State Secretary and on the other is the
                                          uncfa                                                President That is a great deal, and think about the impact that may bring. Right?



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                                                                       Case 9:19-cr-80056-RKA Document 73-21 Entered on FLSD Docket 09/19/2019 Page 16 of
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                          132 wxid_qxgsc6h f03099614e3ca9d276982dfeb191279 Outgoing
                                                                                       :   ..    ranslatiOn· -


                                                                                                [152.aud.silk] She_is the former State Secretary.
                                                                                                                                                                                                SoUrce_ _ _ _ lmestamp- 1mestamp-T1me
                                                                                                                                                                                                Applicat,on

                                                                                                                                                                                                WeChat
                                                                                                                                                                                                                Date

                                                                                                                                                                                                                3/28/2019   3/28/2019 5:56:30
                                                                                                                                                                                                                                                                ..
                                                                                                                                                                                                                                                 152.aud.silk silk   152.aud.silk_Converte
                              1xmd112¥ d                                                                                                                                                        wxid_qxgsc6h1xm             AM(UTC+O)                                d.wav
                                           Participants:                                                                                                                                        d112
                                           wxid_qxgsc6h1 xmd112 ¥ (owner),
                                           wxid_ 4U, wxid_4zadks4smfc512
                                           uncfa
                          133 wx id_qxgsc6h f03099614e3ca9d276982dfeb191279 Outgoing            [153.aud.silk] The value is okay, but I'll see. If the price is this high, I don't think it's   WeChat          3/28/2019   3/28/2019 5:56:34    153.aud.silk silk   153.aud.silk_Converte
                              1xmd112¥ d                                                        worth it.                                                                                       wxid_qxgsc6h1xm             AM(UTC+O)                                d.wav
                                            Participants:                                                                                                                                       d112
                                            wxid_qxgsc6h1xmd112 ¥ (owner),
                                            wxid_ 4U, wxid_ 4zadks4smfc512
                                            uncfa
                          134              f03099614e3ca9d276982dfeb19f279 Incoming             [154.aud.silk] The two of them, a forrrer President and a former State Secretary, and           WeChat          3/28/2019   3/28/2019 8:17:53    154.aud.silk silk   154.aud.silk_Converte
                                           d                                                    you can be in a picture with them. Two for one at the original price of $20,000. How            wxid_qxgsc6h1xm             AM(UTC+O)                                d.wav
                                           Participants:                                        is it expensive? It's not expensive at all. Plus, there are others there too, as vve have       d112
                                           wxid_qxgsc6h1xmd112 ¥ (owner),                       talked about. It's worth i~ Gorgeous. You oouldnt take a picture with them before
                                           wxid_4U, wxid_4zadks4smfc512                         without paying $100,000, Gorgeous.
                                           uncfa
                          135 wxid_qxgsc6h f030996f4e3ca9d276982dfeb191279 Outgoing    Wae!     I'll see.                                                                                       WeChat          3/28/2019   3/28/2019
                              1xmd112¥ d                                                                                                                                                        wxid_qxgsc6h1xm             11 :56:47
                                           Participants:                                                                                                                                        d112                        PM(UTC+O)
                                           wxid_qxgsc6h1xmd112 ¥ (owner),
                                           wxid_4U, wxid_ 4zadks4smfc512
                                           unda

                          136 wxid_qxgsc6h f030996f4e3ca9d276982dfeb191279 Outgoing             [156.aud.silk] This time I had started (the process) early but it still can't work out          WeChat          3/28/2019   3/28/2019            156.aud.silk silk   156.aud.silk_Converte
                              1xmd112¥ d                                                                                                                                                        wxid_qxgsc6h1xm             11 :57:20                                d.wav
                                           Participants:                                                                                                                                        d112                        PM(UTC+O)
                                           wxid_qxgsc6h1xmd112 ¥ (owner),
                                           wxid_4U, wxid_4zadks4smfc512
                                           unda

                          137 wxid_qxgsc6h f030996f4e3ca9d276982dfeb191279 Outgoing             [157.aud.silk]Why is it?                                                                        WeChat          3/28/2019   3/28/2019            157.aud.silk silk   157.aud.silk_Converte
                              1xmd112¥ d                                                                                                                                                        wxid_qxgsc6h1xm             11 :57:30                                d.wav
                                           Participants:                                                                                                                                        d112                        PM(UTC+O)
                                           wxid_qxgsc6h1xmd112 ¥ (owner),
                                           wxid_ 4U, wxid_4zadks4smfc512
                                           uncfa
                          138              f030996f4e3ca9d276982dfeb191279 Incoming             [158.aud.silk] Er. .. it's not. .. the problem is not on you. It's not you. It's because they   WeChat          3/29/2019   3/29/2019 6:29:31    158.aud.silk silk   158.aud.silk_Converte
                                           d                                                    are having a political event at Trump's estate, therefore cancelled this one. That's            wxid_qxgsc6h1xm             AM(UTC+O)                                d.wav
                                           Participants:                                        why. Er. .. it's not-it. has nothing to do with you. It's not you. Don't take it wrong.         d112
                                           wxid_qxgsc6h1xmd112 ¥ (owner),
                                           wxid_4U, wxid_4zadks4smfc512
                                           unda
                          139              f03099614e3ca9d276982dfeb191279 Incoming             [159.aud.silk] Oftentimes it's just the timing of things. There is still time for the           WeChat          3/29/2019   3/29/2019 6:29:45    159.aud.silk silk   159.aud.silk_Converte
                                           d                                                    Clinlons' event We still can book the Clintons' event in the next couple of days .              wxid_qxgsc6h1xm             AM(UTC+O)                                d.wav
                                           Participants:                                        Okay? The Clintons' event. I think this is totally worth it. Okay? You hurry up and             d112
                                           wxid_qxgsc6h1xmd112 ¥ (owner),                       let rre know today. Okay?
                                           wxid_4U, wxid_4zadks4smfc512
                                           uncfa
                          140              !03099614e3ca9d276982dfeb191279 Incoming             [160.pic_thum] [A portrait picture of Bill Clinton]                                             WeChat          3/29/2019   3/29/2019 6:31 :01   160.pic_thu
                                           d                                                                                                                                                    wxid_qxgsc6h1xm             AM(UTC+O)            m
                                           Participants:                                                                                                                                        d112
                                           wxid_qxgsc6h1xmd112 ¥ (owner),
                                           wxid_4U, wxid_4zadks4smfc512
                                           uncfa
                          141              !03099614e3ca9d276982dfeb191279 Incoming             [161 .pic_thum] [A portrait picture of Hillary Clinton]                                         WeChat          3/29/2019   3/29/2019 6:32:30    161 .pic_thu
                                           d                                                                                                                                                    wxid_qxgsc6h1xm             AM(UTC+O)            m
                                           Participants:                                                                                                                                        d112
                                           wxid_qxgsc6h1 xmd112 ¥ (owner),
                                           wxid_4U, wxid_4zadks4smfc512
                                           uncfa


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                                                                                                                                                                                                                       Appl1cat1on      Date                       #1           Details

                          142             f030996f4e3ca9d276982dfeb191279 Incoming                                           [162.pic_thum] [Another portrart picture of Hillary Clinton]                              WeChat           3/29/2019   3/29/2019 6:32:56    162.pic_thu
                                          d                                                                                                                                                                            wxid_qxgsc6h1 xm             AM(UTC+O)            m
                                          Participants:                                                                                                                                                                d112
                                          wxid_qxgsc6h1xmd112 ¥ (owner),
                                          wxid_ 4U, wxid_ 4zadks4smfc512
                                          uncfa
                          143             f030996f4e3ca9d276982dfeb191279 Incoming                                           [163.aud.silk] Gorgeous, look at these two people. They are very influential in the US    WeChat          3/29/2019    3/29/2019 6:33:19    163.aud.silk silk                163.aud.silk_Converte
                                          d                                                                                  history. Also, you can have a picture taken with both of them. It's special. Take a       wxid_qxgsc6h1xm              AM(UTC+O)                                             d.wav
                                          Participants:                                                                      picture with the two of them at the same time. Okay? You hurry up and let me know         d112
                                          wxid_qxgsc6h1xmd112 ¥ (owner),                                                     today so that I can reg ister and buy the ticket soon.
                                          wxid_4U, wxid_ 4zadks4smfc512
                                          uncfa
                          144 wxid_qxgsc6h f030996f4e3ca9d276982dfeb191279 Outgoing                                          [164.aud.silk] Wasn't this activity already included?                                     WeChat          3/29/2019    3/29/2019 2:44:13    164.aud.silk silk                164.aud.silk_Converte
                              1xmd112¥ d                                                                                                                                                                               wxid_qxgsc6h1xm              PM(UTC+O)                                             d.wav
                                           Participants:                                                                                                                                                               d112
                                           wxid_qxgsc6h1xmd112 ¥ (owner),
                                           wxid_4U, wxid_4zadks4smfc512
                                           unda

                          145              f030996f4e3ca9d276982dfeb191279 Incoming     llfd,» ! £3t* , iBf!' ,f:;,11'       Hey Gorgeous! Send me a text The voice message is not clear.                              WeChat          3/29/2019    3/29/2019 5:32:52
                                           d                                            '@.                                                                                                                            wxid_qxgsc6h1xm              PM(UTC+O)
                                           Participants:                                                                                                                                                               d112
                                           wxid_qxgsc6h1xmd112 ¥ (owner),
                                           wxid_4U, wxid_4zadks4smfc512
                                           uncfa
                          146 wxid_qxgsc6h f030996f4e3ca9d276982dfeb191279 Outgoing                                          [166.aud.silk] How come the originally scheduled /vanka 's event didn't work out?         WeChat           3/29/2019   3/29/2019 8:44:08    166.aud.silk silk                166.aud.silk_Converte
                              1xmd112¥ d                                                                                                                                                                               wxid_qxgsc6h1 xm             PM(UTC+O)                                             d.wav
                                           Participants:                                                                                                                                                               d112
                                           wxid_qxgsc6h1xmd112 ¥ (owner),
                                           wxid_ 4U, wxid_4zadks4smfc512
                                           uncfa
                          147 wxid_qxgsc6h f030996f4e3ca9d276982dfeb191279 Outgoing
                              1xmd112¥ d
                                                                                        !Iii* ffll 1-P.IU!:?.   1. U'f rrll!l' Why isn't the previvous girl okay?                                                      WeChat
                                                                                                                                                                                                                       wxid_qxgsc6h1 xm
                                                                                                                                                                                                                                        3/29/2019   3/29/2019 8:44:25
                                                                                                                                                                                                                                                    PM(UTC+O)
                                           Participants:                                                                                                                                                               d112
                                           wxid_qxgsc6h1xmd112 ¥ (owner),
                                           wxid_ 4U, wxid_ 4zadks4smfc512
                                           uncfa
                          148 wxid_qxgsc6h f030996f4e3ca9d2769S2dfeb19l279 Outgoing                                          [168.aud.silk] In addition, those two events are in Detrort, not in New York. I have no   WeChat           3/29/2019   3/29/2019 8:48:23    168.aud.silk silk                168.aud.silk_Converte
                              1xmd112¥ d                                                                                     desire to go whatsoever.                                                                  wxid_ qxgsc6h1xm             PM(UTC+O)                                             d.wav
                                           Participants:                                                                                                                                                               d112
                                           wxid_qxgsc6h1xmd112 ¥ (owner),
                                           wxid_4U, wxid_4zadks4smfc512
                                           uncfa
                          149 wxid_4zadks4 f030996f4e3ca9d2769S2dfeb191279 Incoming                                          [af79516c-c33b-49ff-bbad-d0f31821 d7 da]                                                                   3/29/2019   3/29/2019 9:10:46    af79516c-     https://mmbiz.ql
                              smfc512      d                                                                                                                                                                                                        PM                   c33b-49ff-    ogo.cn/mmbiz_j
                              uncfa        Participants:                                                                                                                                                                                                                 bbad-         pg/LWpWjoV41i
                                           wxid_qxgsc6h1xmd112 ¥ (owner),                                                                                                                                                                                                d0f31S21d7    ciabPOB6\MHx
                                           wxid_ 4U, wxid_4zadks4smfc512                                                                                                                                                                                                 da            AnrKuPoPKohll
                                           uncfa                                                                                                                                                                                                                                       llrWNXr\l\OZqY
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                          150 wxid_ 4zadks4 f030996f4e3ca9d 2769S2dfeb19l279 Incoming                                        [bd24bb64-9e8c-49c4-bf4c-dac46d040bf2]                                                                     3/29/2019   3/29/2019 9:11 :17   bd24bb64-     https://mmbiz.ql
                              smfc512       d                                                                                                                                                                                                       PM                   9e8c-49c4-    090.cn/mmbiz_j
                              uncfa         Participants:                                                                                                                                                                                                                bf4c-         pg/wOQ4aVtpQ
                                            wxid_qx9sc6h1xmd112 ¥ (owner),                                                                                                                                                                                               dac46d040     alONpxtAxoaz5T
                                            wxid_4U, wxid_4zadks4smfc512                                                                                                                                                                                                 bf2           QQjOlic3qxbBuo
                                           uncfa                                                                                                                                                                                                                                       M1 wSrer6pRoF
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                          #   From        !To                               I   .



                          151 wxid_ 4zadks4 f030996f4e3ca9d276982dfeb191279 Incoming
                                                                                       ; • •



                                                                                               [89de66f4-4c7e-4ca8-b2c6-2544e160417b]
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                                                                                                                                                         3/29/2019   3/29/2019 9:11 :48   89de66f4-
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                                                                                                                                                                                                                          Attachment #2
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                              smfc512       d                                                                                                                        PM                   4c7e-4ca8-   090.cn/mmbiz.J
                              uncfa         Participants:                                                                                                                                 b2c6-        pg/XPt9e2d'Ml2
                                            wxid_qxgsc6h1xmd112 • (owner},                                                                                                                2544e1604    Udl1XNNG49e8
                                            wxid_4U, wxid_4zadks4smfc512                                                                                                                  17b          UcNrAvyABssnq
                                            uncfa                                                                                                                                                      JqfnXTtgX1 CIS
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                          152 wxid_4zadks4 f030996f4e3ca9d276982dfeb191279 Incoming            [bf03b0ac-551 a-4199-bd79-1 c1 c3aa9fc90]                 3/29/2019   3/29/2019 9:14:45    bf03b0ac-    https://mmbiz.ql
                              smfc512      d                                                                                                                         PM                   551a-4199-   ogo.cn/mmbiz.J
                              uncfa        Participants:                                                                                                                                  bd79-        pg/CY71qvpFDS
                                           wxid_qxgsc6h1xmd112 • (owner),                                                                                                                 1c1c3aa9fc   WdpnUx71XtMo
                                           wxid_4U, wxid_ 4zadks4smfc512                                                                                                                  90           KcuP3vl4wE\Mv
                                           uncfa                                                                                                                                                       ia4alPZt3JddPq
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                          153 wxid_ 4zadks4 f030996f4e3ca9d276982dfeb191279 Incoming           [17 ca9fee-33e9-43d3-a9d7 -296603d4956a]                  3/29/2019   3/29/2019 9:15:03    17ca9fee-    https://mmbiz.ql
                              smfc512       d                                                                                                                        PM                   33e9-43d3-   ogo.cn/mmbiz.J
                              uncfa         Participants:                                                                                                                                 a9d7-        pg/CY71qvpFDS
                                            wxid_qxgsc6h1xmd112 • (owner),                                                                                                                296603d49    WdpnUx71XtMo
                                            wxid_4U , wxid_4zadks4smfc512                                                                                                                 56a          KcuP3vl4wEedi
                                            unda                                                                                                                                                       bvvl32uLGfygRf
                                                                                                                                                                                                       OlqDXPNeFDYS
                                                                                                                                                                                                       NyjMNSaJltiahE
                                                                                                                                                                                                       bl5ib6wyxW5jM
                                                                                                                                                                                                       g/300?wx_fmt=j
                          154 wxid_ 4zadks4 f030996f4e3ca9d276982dfeb191279 Incoming           [10122a9d-7127-43ce-a624-43a0150ae488]                    3/29/2019   3/29/2019 9:15:24    10122a9d-    https://mmbiz.ql
                              srrtc512      d                                                                                                                        PM                   7127-43ce-   ogo.cn/mmbiz.J
                              uncfa         Participants:                                                                                                                                 a624-        pg/CY71qvpFDS
                                            wxid_qxgsc6h1xmd112 • (owner},                                                                                                                43a0150ae    UeD6IDLC4FYy
                                            wxid_ 4U, wxid_4zadks4smfc512                                                                                                                 488          Q680PROGaOE
                                            uncfa                                                                                                                                                      ZGCrCa1oTlrdza
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                                                                                                                                                                                                       UlicVluQ/300?w
                                                                                                                                                                                                       x_fmt=jpeg
                          155 wxid 4zadks4 f030996f4e3ca9d276982dfeb191279 Incoming            [f344fbcb-81 e6-4d2d-aa40-ed5288f80275]                   3/29/2019   3/29/2019 9:16:44    f344fbcb-    https://mmbiz.ql
                              smfc512      d                                                                                                                         PM                   81e6-4d2d-   ogo.cn/mmbiz.J
                              uncfa        Participants:                                                                                                                                  aa40-        pg/ZuDu54GKuj
                                           wxid_qxgsc6h1xmd112 • (owner},                                                                                                                 ed5288f802   vg4MrlWZuGAib
                                           wxid_ 4U, wxid_ 4zadks4srrtc512                                                                                                                75           jXYE5yVh1 iao6
                                           uncfa                                                                                                                                                       u4Xo8IU6LD0w
                                                                                                                                                                                                       NKseHXnkf4TO
                                                                                                                                                                                                       QjaYVON6LW1
                                                                                                                                                                                                       pkRwRFm6JP8f
                                                                                                                                                                                                       xwyLN300?wx_f
                                                                                                                                                                                                       mt=jpeg
                          156 wxid_ 4zadks4 f030996f4e3ca9d276982dfeb191279 Incoming           (731c1405-e35c-4a41-9929-3a8e4b752bd8]                    3/29/2019   3/29/2019 9:18:11    731c1405-    https://mmbiz.ql
                              smfc512       d                                                                                                                        PM                   e35c-4a41-   ogo.cn/mmbiz.J
                              uncfa         Participants:                                                                                                                                 9929-        pg/xrFYciaHL08
                                            wxid_qxgsc6h1xmd112 • (owner},                                                                                                                3a8e4b752    ALPlsez1 HHvXt
                                            wxid_ 4U, wxid_ 4zadks4smfc512                                                                                                                bd8          E4iclibjYjlXLEz
                                            uncfa                                                                                                                                                      On9QeBkKyaAli
                                                                                                                                                                                                       aMQLsSAJibmj
                                                                                                                                                                                                       Oq7jlkhQgs6op
                                                                                                                                                                                                       QsfmRZhMHSS
                                                                                                                                                                                                       YTw/300?wx_fm



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                          157 wxid_4zadks4 f03D996f4e3ca9d276982dfeb19f279 Incoming             [510325ab-dad1 -4b4d-b1 c8-612854cd834S]                                                                         3/29/2019   3/29/2019 9 :18:50   510325ab-     https:J/mmbiz.ql
                              smfc512      d                                                                                                                                                                                 PM                   dad1-4b4d-    ogo.cn/mmbiz_j
                            · uncfa        Participants:                                                                                                                                                                                          b1c8-         pg/k5d41fEvkEy
                                           wxid_qxgsc6h1xmd112 ¥ (owner),                                                                                                                                                                         612854cd8     X6JH9CCvnDm
                                           wxid_4U, wxid_ 4zadks4smfc512                                                                                                                                                                          345           nDdbUfWT037b
                                           uncfa                                                                                                                                                                                                                13JP6SVOIEIVvd
                                                                                                                                                                                                                                                                cVicxTUwpGhY
                                                                                                                                                                                                                                                                Awd21iaWA960
                                                                                                                                                                                                                                                                9d9khVjyTrymJ
                                                                                                                                                                                                                                                                VKQ/300?wx_f
                          158 wxid_ 4zadks4 f030996f4e3ca9d276982dfeb191279 Incoming            [7234253e-5e45-4f36-9965-ce 7591 a71133]                                                                         3/29/2019   3/29/2019 9: 19:12   7234253e-     https:J/mmbiz.ql
                              smfc512       d                                                                                                                                                                                PM                   5e45-4136-    ogo.cn/mmbiz_j
                              uncfa         Participants:                                                                                                                                                                                         9965-         pg/eCUa11gTpQ
                                            wxid_qxgsc6h1xmd112 • (owner),                                                                                                                                                                        ce7591a7ff    UsthbgAozFS09
                                            wxid_4U, wxid_4zadks4smfc512                                                                                                                                                                          33            ZT7svMzE2ceLL
                                           uncfa                                                                                                                                                                                                                vTYPpHWDsfkQ
                                                                                                                                                                                                                                                                DyHoNBg2pVq2
                                                                                                                                                                                                                                                                Aec3YpPcW4Eji
                                                                                                                                                                                                                                                                bRhAoicQyD6P
                                                                                                                                                                                                                                                                nmN300?wx_f
                          159 wxid_qxgsc6h f030996f4e3ca9d276982dfeb191279 Outgoing             Call to find out                                                                                 WeChat          3/30/2019   3/30/2019
                              1xmd112¥ d                                                                                                                                                         wxid_qxgsc6h1xm             12:49:29
                                           Participants:                                                                                                                                         d112                        AM(UTC+OJ
                                           wxid_qxgsc6h1xmd112 ¥ (owner),
                                           wxid_4U, wxid_ 4zadks4smfc512
                                           uncfa

                          160              !03099614e3ca9d276982dfeb191279 Incoming             [171 .aud.silk) Gorgeous, regarding the Trump's event, this is what happened. It's               WeChat          3/30/2019   3/30/2019 4:39:11    171 .aud.silk silk               171 .aud.silk_Converte
                                           d                                                    because the Democratic Party has all along been f1ghting with the Republican Party.              wxid_qxgsc6h1xm             AM(UTC+OJ                                             d.wav
                                           Participants:                                        He is from the Republican Party. They accused Trump of colluding with Russia.                    d112
                                           wxid_qxgsc6h1xmd112 ¥ (owner),                       Recently the investigation said Trump did not He's not guilty. The media is
                                           wxid_ 4U, wxid_4zadks4smfc512                        controlled by the Republic Party--eh, the Democratic Party. That's why they are in
                                           uncfa                                                trouble. Trump takes the revenge. So they now join together and attack Trump.
                                                                                                They talk th is and that and a bunch of nonsense about all of Trump's events, saying
                                                                                                that those events are sponsored by foreigners, and something about election
                                                                                                interferences. It's like that, to give Trump ... er ... some trouble. In order to minimize the
                                                                                                nonsense, they cancelled his events for the time being.



                          161              !03099614e3ca9d276982dfeb191279 Incoming             [172.aud.silk] Er ... the Cfin Ions' event has been changed. What you said was right.            WeChat          3/30/2019   3/30/2019 4:39:24    172.aud.silk silk                172.aud.silk_Converte
                                           d                                                    No one wants to go to Detroit. So it's moved to New York, moved to New York,                     wxid_qxgsc6h1xm             AM(UTC+O)                                             d.wav
                                           Participants:                                        moved to New York now.                                                                           d112
                                           wxid_qxgsc6h1xmd112 ¥ (owner),
                                           wxid_ 4U, wxid_4zadks4smfc512
                                           uncfa

                          162              f03D996f4e3ca9d276982dfeb191279 Incoming             [173.pic] [The page reads the charity meeting with fomner President Clinton and                  WeChat          3/30/2019   3/30/2019 4:39:29    173.pic
                                           d                                                    former Secretary of State Clinton on 4/10/2019 at wall Street with photo op with the             wxid_qxgsc6h1xm             AM(UTC+O)
                                           Participants:                                        Ciintons and other famous politicians and businessmen.]                                          d112
                                           wxid_qxgsc6h1xmd112 ¥ (owner),
                                           wxid_ 4U, wxid_ 4zadks4smfc512
                                           uncfa

                          163              !03099614e3ca9d276982dfeb191279 Incoming             [17 4.aud.silk] You are not the only one saying it's inconvenient to go to Detroit A             WeChat          3/30/2019   3/30/2019 4:39:49    174.aud.silk silk                174.aud.silk Converte
                                           d                                                    sponsor from Detroit was about to organize it. Later, everyone complained how                    wxid_qxgsc6h1xm             AM(UTC+O}                                             d.wav       -
                                           Participants:                                        inconvenient the location was. At the end, it's moved to the wall Street, moved to the           d112
                                           wxid_qxgsc6h1xmd112 • (owner),                       Wall Street.
                                           wxid_4U, wxid_ 4zadks4smfc512
                                           unda
                          164 wxid_qxgsc6h f030996f4e3ca9d276982dfeb19f279 Outgoing             [175.aud.silk] Then, there is a little trouble about this matter.                                WeChat          3/30/2019   3/30/2019            175.aud.silk silk                175.aud.silk Converte
                              1xmd112¥ d                                                                                                                                                         wxid_qxgsc6h1xm             12:01 :24                                             d.wav       -
                                           Participants:                                                                                                                                         d112                        PM(UTC+O}
                                           wxid_qxgsc6h1xmd112 ¥ (owner),
                                           wxid_ 4U, wxid_4zadks4srnfc512
                                           uncfa


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                                                                                                                                                                                                                                      Date
                                                                                                                                                                                                                                                                      Attachment
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                          165 wxid_qxgsc6h f03099614e3ca9d276982dfeb191279 Outgoing                         [176.aud.silk] That I understand. But. .. is rt possible to attend both? We are not                       WeChat          3/30/2019   3/30/2019           176.aud.silk silk    176.aud.silk_Converte
                              1xmd112M. d                                                                   involved in polrtics, not involved in those huge political activities. Right? We'll see.                  wxid_qxgsc6h1xm             12:53:18                                 d.wav
                                           Participants:                                                                                                                                                              d112                        PM(UTC+O}
                                           wxid_qxgsc6h1xmd112 M. (owner},
                                           wx id_4U, wxid_4zadks4smfc512
                                           uncfa
                          166 wxid_qxgsc6h f03099614e3ca9d276982dfeb19f279 Outgoing                         [177.aud.silk] Polrtical events now ..                                                                    WeChat          3/30/2019   3/30/2019           177.aud.silk silk    177.aud.silk_Converte
                              1xmd112M. d                                                                                                                                                                             wxid_qxgsc6h1xm             12:53:38                                 d.wav
                                           Participants:                                                                                                                                                              d112                        PM(UTC+O}
                                           wxid_qxgsc6h1xmd112 ,M. (owner},
                                           wxid_4U, wxid_4zadks4srrtc512
                                           uncfa
                          167 wxid_qxgsc6h f030996f4e3ca9d276982dfeb191279 Outgoing                             But in terms of the real estates ..                                                                   WeChat          3/30/2019   3/30/2019 2:05:44
                              1xmd112M. d                                                                                                                                                                             wxid_qxgsc6h1xm             PM(UTC+O}
                                           Participants:                                                                                                                                                              d112
                                           wxid_qxgsc6h1xmd112 M. (owner},
                                           wxid_ 4U, wxid_ 4zadks4srrlc512
                                           uncfa

                          168 wxid_qxgsc6h f030996f4e3ca9d276982dfeb19f279 Outgoing                             ... I have to think about it.                                                                         WeChat          3/30/2019   3/30/2019 2:05:49
                              1xmd112M. d                                                                                                                                                                             wxid_qxgsc6h1xm             PM(UTC+O}
                                           Participants:                                                                                                                                                              d112
                                           wxid_qxgsc6h1 xmd 112 M. (owner},
                                           wxid_4U, wxid_4zadks4smfc512
                                           uncfa

                          169 wxid_qxgsc6h f030996f4e3ca9d276982dfeb19f279 Outgoing                             [180.aud.silk] I was thinking that since Trump himse~ was in real estate business so                  WeChat          3/30/2019   3/30/2019 2:05:56   180.aud.silk silk    180.aud.silk_Converte
                              1xmd112M. d                                                                       that perhaps we could have something to talk about. Don't you agree?                                  wxid_qxgsc6h1xm             PM(UTC+O}                                d.wav
                                           Participants:                                                                                                                                                              d112
                                           wxid_qxgsc6h1xmd112 M. (owner},
                                           wxid_4U, wxid_4zadks4srrlc512
                                           uncfa
                          170 wxid_qxgsc6h f030996f4e3ca9d276982dfeb191279 Outgoing                             [181 .aud.silk] Er, in terms of politics, in fact .. tsk ... it's not like that I really ... really   WeChat          3/30/2019   3/30/2019 2:06:10   181 .aud.silk silk   181 .aud.silk_Converte
                              1xmd112M. d                                                                       understand much of the struggling relationships among the polrtical dignitaries. We-                  wxid_qxgsc6h1xm             PM(UTC+O}                                d.wav
                                           Participants:                                                        anyway, we don't get involved in election or polrtical relations. 1--1 personally don't               d112
                                           wxid_qxgsc6h1xrrd112 • (owner} ,                                     want to get involved in-involved in this srtuation. Get it?
                                           wxid_ 4U, wxid_ 4zadks4smfc512
                                           uncfa
                          171 wxid_qxgsc6h f030996f4e3ca9d276982dfeb191279 Outgoing                             [182.aud.silk] At this time, some small business collaboration shouldn't be a                         WeChat          3/30/2019   3/30/2019 2:06:36   182.aud .silk silk   182.aud.silk_Converte
                              1xmd112M. d                                                                       problem. That's how I feel personnally.                                                               wxid_qxgsc6h1xm             PM(UTC+O}                                d.wav
                                           Participants:                                                                                                                                                              d112
                                           wxid_qxgsc6h1xmd112 M. (owner} ,
                                           wxid_ 4U, wxid_4zadks4smfc512
                                           uncfa
                          172 wxid_qxgsc6h f030996f4e3ca9d276982dfeb191279 Outgoing                             [183.aud.silk] What we are going to do is only something small. ..which is not going                  WeChat          3/30/2019   3/30/2019 2:06:43   183.aud.silk silk    183.aud.silk_Converte
                              1xmd112M. d                                                                       to be in huge numbers like tens or hundreds of billions. It is not going to affect the                wxid_qxgsc6h1xm             PM(UTC+O)                                d.wav
                                           Participants:                                                        country's polrtical structure erther. That being said, it shouldn't be a big issue.                   d112
                                           wxid_qxgsc6h1xmd112 ,M. (owner},
                                           wxid_4U, wxid_4zadks4smfc512
                                           uncfa
                          173             f030996f4e3ca9d276982dfeb191279 Incoming                              You have deleted a message.                                                                           WeChat          3/30/2019   3/30/2019 3:24:30
                                          d                                                                                                                                                                           wxid_qxgsc6h1xm             PM(UTC+O}
                                          Participants:                                                                                                                                                               d112
                                          wxid_qxgsc6h1xmd112 • (owner},
                                          wxid_4U, wxid_ 4zadks4smfc512
                                          uncfa
                          174 wxid_qxgsc6h f03099614e3ca9d276982dfeb191279 Outgoing                             [185.aud.silk] Just want to get a house or something like that                                        WeChat          3/30/2019   3/30/2019 3:24:34   185.aud.silk silk    185.aud.silk_Converte
                              1xmd112M. d                                                                                                                                                                             wxid_qxgsc6h1xm             PM(UTC+O)                                d.wav
                                           Participants:                                                                                                                                                              d112
                                           wxid_qxgsc6h1xmd112 M. (owner},
                                           wxid_4U, wxid_4zadks4smfc512
                                           unda


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                           175
                                           d
                                           Participants:
                                                                            Direction


                                           !03099614e3ca9d276982dfeb191279 Incoming


                                           wxid_qxgsc6h1xrrd112 ,ll, (owner),
                                           wxid_4U, wxid_4zadks4smfc512
                                           uncfa
                                                                                        Body
                                                                                                              24
                                                                                                                        Translation          .


                                                                                                                        [187.aud.silk] Er ... I got it, Gorgeous. But the Trump's event is cancelled for the time
                                                                                                                        being, mainly because of the Russian investigation. The investigation report says
                                                                                                                        Trump did not involve. Trump now is about to punish and take revenge on those who
                                                                                                                        wrongly accused him, including the media. So his events are temporarily put on hold
                                                                                                                        for the time being. If there are other events that we can go, that...l will let you know. I
                                                                                                                        will make arrangements. No "WOrries. But there is none right now, none right now.
                                                                                                                        Huh.
                                                                                                                                                                                                                      -
                                                                                                                                                                                                                      WeChat
                                                                                                                                                                                                                      wxid_qxgsc6h1xm
                                                                                                                                                                                                                      d112
                                                                                                                                                                                                                                      . .   .

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                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                    T1mestamp-T1me


                                                                                                                                                                                                                                                    3/30/2019 3:38:23
                                                                                                                                                                                                                                                    PM(UTC+O)
                                                                                                                                                                                                                                                                         Attachment Attachment #1 • Attachment #2
                                                                                                                                                                                                                                                                         #1         Details

                                                                                                                                                                                                                                                                         187.aud.silk silk         187.aud.silk_Converte
                                                                                                                                                                                                                                                                                                   d.wav




                           176             !03099614e3ca9d276982dfeb191279 Incoming     <msg><emoji                                                                                                                   WeChat          3/30/2019     3/30/2019 3:40:34
                                           d                                            fromusername=''wxid_4zad                                                                                                      wxid_qxgsc6h1xm               PM(UTC+O)
                                           Participants:                                ks4smfc512"                                                                                                                   d112
                                           wxid_qxgsc6h1xrrd112 ,ll, (owner),           tousername=''wxid_qxgsc6h
                                           wxid_4U, wxid_4zadks4smfc512                 1xmd112" type="1"
                                           uncfa                                        idbuffer="media:O_O"
                                                                                        md5="d21 e8f65a3503S057
                                                                                        2a03ed3babfd4b1"
                                                                                        len="23380" productid='"'
                                                                                        androidmd5="d21 e8f65a35
                                                                                        03S0572a03ed3babfd4b1"
                                                                                        androidlen='23380''
                                                                                        sS0.,3md5="d21 e8165a3503
                                                                                        S0572a03ed3babfd4b1"
                                                                                        s60.,31en="23380"
                                                                                        s60.,Smd5=''d21 e8165a3503
                                                                                        S0572a03ed3babfd4b1"
                                                                                        s60.,Slen="23380"
                                                                                        cdnurl="http://emoji.qpic.cn/
                           177             !03099614e3ca9d276982dfeb191279 Incoming     Jl}.1!./Jo!ifl@!F~\jl;!i;~? Do you want to attend some real estate forums?                                                    WeChat          3/30/2019     3/30/2019 3:41 :29
                                           d                                                                                                                                                                          wxid_qxgsc6h1xm               PM(UTC+O)
                                           Participants:                                                                                                                                                              d112
                                           wxid_qxgsc6h1xrrd112 ,ll, (owner),
                                           wxid_4U, wxid_4zadks4smfc512
                                           uncfa
                           178 wxid_qxgsc6h f030996f4e3ca9d276982dfeb19f279 Outgoing                                    [190.aud.silk] Right Right Right                                                              WeChat          3/30/2019     3/30/2019 3:43:41    190.aud.silk silk         190.aud.silk_Converte
                               1xrrd112,ll, d                                                                                                                                                                         wxid_qxgsc6h1xm               PM(UTC+O)                                      d.wav
                                            Participants:                                                                                                                                                             d112
                                            wxid_qxgsc6h1xrrd112 ,ll, (owner),
                                            wxid_ 4U, wxid_ 4zadks4smfc512
                                            uncfa
                           179 wxid_qxgsc6h f030996f4e3ca9d276982dfeb19f279 Outgoing    yes                             yes                                                                                           WeChat          3/30/2019     3/30/2019 3:43:47
                               1xrrd112,ll, d                                                                                                                                                                         wxid_qxgsc6h1xm               PM(UTC+O)
                                            Participants:                                                                                                                                                             d112
                                            wxid_qxgsc6h1xrrd112 ,ll, (owner),
                                            wxid_4U, wxid_4zadks4smfc512
                                            uncfa

                           180             !03099614e3ca9d276982dfeb191279 Incoming                                     [192.aud.silk] Er. .. we have an European (4 or 5 countries including Germany and     WeChat          3/30/2019             3/30/2019 3:49:01    192.aud.silk silk         192.aud.silk_Converte
                                           d                                                                            Italy) Real Estate Exploratory Forum even~ including sightseeing and learning in May. wxid_qxgsc6h1xm                       PM(UTC+O)                                      d.wav
                                           Participants:                                                                 I will send you the info. Huh. Let me know what you want As long as you can pin      d112
                                           wxid_qxgsc6h1xrrd112 ,ll, (owner),                                           point it, I can get it for you too. I have whatever you need. So, you are saying you
                                           wxid_4U, wxid_4zadks4smfc512                                                 don't want to go to the Clintons' event this time, right? You want to go to Europe.
                                           uncfa                                                                        Right?

                           181             f030996f4e3ca9d276982dfeb191279 Incoming                                     [193.aud.silk] If you are going to the one in Europe, you need to go get the visa in the WeChat          3/30/2019          3/30/2019 3:49:44    193.aud.silk silk         193.aud.silk_Converte
                                           d                                                                            next two days. Since you have the US and UK visas, it's easy for you to get the visa     wxid_qxgsc6h1xm                    PM(UTC+O)                                      d.wav
                                           Participants:                                                                for the EU then. Hurry up and get the EU visa. Once you get this visa, that's good.      d112
                                           wxid_qxgsc6h1xrrd112 ,ll, (owner),                                           You can pretty much go around the world. We also have an event in Japan, an
                                           wxid_4U , wxid_4zadks4smfc512                                                exploratory, sightseeing and learning event in Japan. It's also related to real estate.
                                           uncfa                                                                        Er... [we] also have Taiwan ... Hong Kong, Macao, and Taiwan. I think you should go to
                                                                                                                        the one in May... to Europe. The European trip is more beneficial. Okay? Perhaps
                                                                                                                        you have never been to Europe, you are not familiar with it there. Right? Check it
                                                                                                                        out. Er. .. learning, exploration, and sightseeing, its a one-stop shopping.



                           182 wxid_qxgsc6h f030996f4e3ca9d276982dfeb191279 Outgoing                                    Not going for now.                                                                            WeChat          3/30/2019     3/30/2019 3:50:23
                               1xmd112,ll, d                                                                                                                                                                          wxid_qxgsc6h1xm               PM(UTC+O)
                                            Participants:                                                                                                                                                             d112
                                            wxid_qxgsc6h1xrrd112 ,ll, (owner),
                                            wxid_4U, wxid_4zadks4smfc512
                                            uncfa                                                                                                                        21
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                          183 wxid_qxgsc6h f030996f4e3ca9d276982dfeb191279 Outgoing
                                                                                              -------

                                                                                                          [195.aud.silk] I am not going to Europe for the time being.                                WeChat
                                                                                                                                                                                                                      ..   .

                                                                                                                                                                                                                     3/30/2019    3/30/2019 3:50:42
                                                                                                                                                                                                                                                        .            ...
                                                                                                                                                                                                                                                       195.aud.silk silk
                                                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                                               Attachmen012


                                                                                                                                                                                                                                                                               195.aud.silk_Converte
                              1xmd112¥ d                                                                                                                                                             wxid_qxgsc6h1xm              PM{UTC+O}                                    d.wav
                                           Participants:                                                                                                                                             d112
                                           wxid_qxgsc6h1xmd112 ¥ {owner},
                                           wxid_4U, wxid_ 4zadks4smfc512
                                           uncfa
                          184 wxid_qxgsc6h f030996f4e3ca9d276982dfeb19f279 Outgoing                       [196.aud.silk] I don't have time to go there. The UK is okay. I plan to make a trip to     WeChat           3/30/2019   3/30/2019 3:50:46    196.aud.silk silk       196.aud.silk_Converte
                              1xmd112¥ d                                                                  the UK. Europe ... ! have been to Europe before. That's why I say.. .l dont have time      wxid_qxgsc6h1 xm             PM{UTC+O}                                    d.wav
                                           Participants:                                                  to go there nc:1N. I plan to go to the UK one more time. Right now the focal points are    d112
                                           wxid_qxgsc6h1xmd112 ¥ {owner},                                 in the US and UK, these two countries. I have been those other countries before, and
                                           wxid_4U, wxid_4zadks4smfc512                                   I don't have time to go again now.
                                           uncfa

                          185 wx id_qxgsc6h f030996f4e3ca9d276982dfeb191279 Outgoing   !R:~               The UK and the US.                                                                         WeChat          3/30/2019    3/30/2019 3:51 :17
                              1xmd112¥ d                                                                                                                                                             wxid_qx9sc6h1xm              PM{UTC+O}
                                            Participants:                                                                                                                                            d112
                                            wxid_qxgsc6h1xmd112 ¥ (owner},
                                            wxid_ 4U, wxid_ 4zadks4smfc512
                                           uncfa

                          186              !03099614e3ca9d276982dfeb191279 Incoming                       [198.aud.silk] Huh, I got it I will forward you the information of some upcoming real      WeChat          3/30/2019    3/30/2019 3:52:41    198.aud.silk silk       198.aud.silk_Converte
                                           d                                                              estates related events in the US and UK. I got it I understand. Huh. Right It helps        wxid_qxgsc6h1xm              PM(UTC+O}                                    d.wav
                                           Participants:                                                  me when you are being precise about it. I wi ll provide you with the information . I got   d112
                                           wxid_qxgsc6h1xmd112 ¥ (owner},                                 it.
                                           wxid_ 4U, wxid_4zadks4smfc512
                                           uncfa

                          187              f030996f4e3ca9d276982dfeb191279 Incoming                       [199.aud.silk] Are you interested in Taiwan? Taiwan . A Real estate exploratory in         WeChat          3/30/2019    3/30/2019 3:52:52    199.aud.silk silk       199.aud.silk_Converte
                                           d                                                              Taiwan?                                                                                    wxid_qxgsc6h1xm              PM(UTC+O}                                    d.wav
                                           Participants:                                                                                                                                             d112
                                           wxid_qxgsc6h1xmd112 ¥ (owner},
                                           wxid_4U, wxid_ 4zadks4smfc512
                                           uncfa

                          188 wxid_qxgsc6h f030996f4e3ca9d276982dfeb19f279 Outgoing    i!i'B;t;.1!~       Not right now.                                                                             WeChat          3/30/2019    3/30/2019 4:29:59
                              1xmd112¥ d                                                                                                                                                             wxid_qxgsc6h1xm              PM(UTC+O}
                                           Participants:                                                                                                                                             d112
                                           wxid_qxgsc6h1xmd112 ¥ (owner},
                                           wxid_ 4U, wxid_4zadks4smfc512
                                           uncfa

                          189 wxid_qxgsc6h f030996f4e3ca9d276982dfeb191279 Outgoing    ilHBi.~ff:/J       Don't have that much energy.                                                               WeChat          3/30/2019    3/30/2019 4:30:04
                              1xmd112¥ d                                                                                                                                                             wxid_qxgsc6h1xm              PM(UTC+O}
                                           Participants:                                                                                                                                             d112
                                           wxid_qxgsc6h1xmd112 ¥ (owner},
                                           wxid_4U, wxid_ 4zadks4smfc512
                                           uncfa

                          190 wxid_qxgsc6h f030996f4e3ca9d276982dfeb191279 Outgoing                       [202.aud.silk] What I said was not limited to the real estate in the UK only. Other        WeChat          3/30/2019    3/30/2019 4:30:09    202.aud.silk silk   202.aud.silk_Converte
                              1xmd112¥ d                                                                  areas are included as well. Say, other events in the UK are fine.                          wxid_qxgsc6h1xm              PM(UTC+O}                                d.wav
                                           Participants:                                                                                                                                             d112
                                           wxid_qxgsc6h1xmd112 4 {owner},
                                           wxid_4U, wxid_ 4zadks4smfc512
                                           uncfa
                          191 wxid_qxgsc6h f030996f4e3ca9d276982dfeb191279 Outgoing    !R:00il'Jfl.'r4J   The events in the UK ..                                                                    WeChat          3/30/2019    3/30/2019 4:30:27
                              1xmd112¥ d                                                                                                                                                             wxid_qxgsc6h1xm              PM{UTC+O}
                                           Participants:                                                                                                                                             d112
                                           wxid_qxgsc6h1xmd112 ¥ (owner},
                                           wxid_ 4U, wxid_4zadks4smfc512
                                           uncfa

                          192 wxid_qxgsc6h f030996f4e3ca9d276982dfeb191279 Outgoing    l!l.oJ~J           ... are fine.                                                                              WeChat          3/30/2019    3/30/2019 4:30:31
                              1xmd112¥ d                                                                                                                                                             wxid_qxgsc6h1xm              PM(UTC+O}
                                           Participants:                                                                                                                                             d112
                                           wxid_qxgsc6h1xmd112 4 {owner},
                                           wxid_4U, wxid_ 4zadks4smfc512
                                           uncfa


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                                                                                                               24                                                    UNQ.ASSrFIED//FOUO
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                                                                                                                                                                                           Appllc at,on   ,Date                                  #1            Deta ils
                                           I                                                                              I                                                                               I                                  I
                           193 wxid_qxgsc6h f030996f4e3ca9d276982dfeb19f279 Outgoing                                          [205.aud.silk] Like the event we had last time.              WeChat          3/30/2019    3/30/2019 4:30:33        205.aud.silk silk        205.aud.silk Converte
                               1xm:1112¥ d                                                                                                                                                 wxid_qxgsc6h1xm              PM{UTC+O)                                         d.wav       -
                                               Participants:                                                                                                                               d112
                                           wxid_qxgsc6h1xm:1112 ,¥ {owner),
                                           wxid_4U, wxid_ 4zadks4srrtc512
                                           uncfa
                           194             f030996f4e3ca9d276982dfeb191279 Incoming       <msg><emoji                                                                                      WeChat          3/30/2019    3/30/2019 5:11 :49
                                           d                                              fromusername=''wxid_ 4zad                                                                        wxid_qxgsc6h1xm              PM(UTC+O)
                                               Participants:                              ks4srrtc512"                                                                                     d112
                                           wxid_qxgsc6h1xm:1112 ,¥ {owner),               tousername=''wxid_qxgsc6h
                                           wxid_ 4U, wxid_4zadks4srrtc512                 1xmd112" type="Z'
                                               uncfa                                      idbuffer-''media:O_O''
                                                                                          md5="1 df4b4db91128b27ac
                                                                                          a75784e695497r'
                                                                                          len="229420" productid="'
                                                                                          androidmd5="1df4b4db911
                                                                                          28b27aca75784e695497f'
                                                                                          androidlen='229420"
                                                                                          s60v3md5="1 df4b4db91128
                                                                                          b27aca75784e695497f'
                                                                                          s60v31en="229420"
                                                                                          s60v5md5="1 df4b4db91128
                                                                                          b27aca 75784e695497f'
                                                                                          s60v51en="229420"
                                                                                          cdnurl="http://emoji.qpic.cn/
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Case 9:19-cr-80056-RKA Document 73-21 Entered on FLSD Docket 09/19/2019 Page 24 of
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                                                                                     ~VERNMENT
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                                                                                            US v. ZHANG
                                                                                     CASE19-CR-80056-ALTMA

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